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Margarida Afonso

Brussels, 27 February 2025


Honorable Robert S. Ballou,
United States District Judge,
Western District of Virginia,
210 Franklin Road, SW,
Suite 206,
Roanoke, Virginia 24011-2208



Dear Judge Ballou,

I am aware of the fact that my friend, Mr. Martin Elling, has pied guilty
before your court to one felony count of obstruction of justice related to
his deletion of electronic documents which were relevant to a federal
investigation and that he is due to be sentenced for that offence. Since I
have known and remained in contact with Mr. Elling for 35 years, I would
like to provide you with a statement of character that may assist the court
in the sentencing process.

I am a Portuguese national who, after law studies in Lisbon (Portugal),
Bruges (Belgium) and Cambridge, Massachusetts (USA), specialized in the
law of the European Union and in international law, with a particular focus
on international trade law . Although I started my career in private practice
with Portuguese and US law firms, for the last 30 years I have worked in
the public interest as a legal adviser to various institutions of the European
Union in Belgium and in Luxembourg.

I first met Mr. Elling in August 1990 when I arrived in Cambridge, MA to
pursue studies towards an LL. M degree at Harvard Law School. Martin
Elling was an active member of the Harvard International Law Society and,
together with other American students, he reached out to freshly arrived
foreign LL. M students. They welcomed us and shared precious information
to help us in the process of selecting and registering for courses at Harvard
Law School. They also gave us many practical tips for getting settled in
Cambridge and navigating the many resources of Harvard University.

Martin Elling has a very engaging personality, and we have remained good
friends to this day. He is very sociable and truly interested in exchanging
ideas with people from different backgrounds and different cultures. He
has traveled widely and everywhere he has engaged with the people he
has had the opportunity to meet, trying to learn from their diverse and
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unique experiences. I have traveled with him on a number of occasions,
together with others, and I have observed how Martin Elling is always the
first to start a conversation with the locals, showing genuine interest for
their lives and points of view. He is also willing to contribute his own
insights about America and other places he knows well into the
conversation, which is therefore quite enriching for both parties.

Martin Elling is extremely generous and kind, not only towards his many
friends, but also towards simple acquaintances, in particular those who
are less privileged than he is. He tries to help them not only by picking up
some bills but also by providing sound advice when it is requested.

Although I don't know the details, since Martin Elling does not brag about
it, I understand that he contributes regularly to organizations pursuing
educational and welfare goals. He is keenly aware of the wider benefits to
society of a good education and access to healthcare by the largest
numbers possible.

Overall, Martin Elling is for me a treasured friend             and a highly
commendable individual.

I hope that his many qualities and achievements will be taken into
consideration by the Court during the sentencing process.


Yours sincerely,

H~rw·,J /4,v
~ f r~ai ida Afonso
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                                                                         Honorable Robert S. Ballou
                                                                         United States DistrictJudge
                                                                         Western District ofVirginia
                                                                             210 Franklin Road, SW
                                                                                           Suite 206
                                                                       Roanoke, Virginia 24011-2208


To Whom It May Concern:

        My name is Rawit Assamongkol. I am currently a third-year law student in New York
City. I grew up in Bangkok, Thailand, until I began attending boarding school in Massachusetts
at the age of 14. I received my B.A. degree from New York University in the spring of 2022.
Throughout my high school and college years, I spent my summer and winter breaks in
Bangkok. In law school, I am a member of a student organization which provides grants to
students pursuing public interest roles over their 2L summers and for their post-graduation
careers. I am also engaged in various pro bono projects, including housing rights advocacy,
judicial accountability, and asylum claims. I am aware that Martin has pleaded guilty to an
obstruction ofjustice charge and is awaiting sentencing

        I have known Martin since August 2018, when he and I met on my first flight into New
York to start college. I was on the plane with my brother, speaking in Thai loudly and
obnoxiously. Martin asked us, though I'm sure he already knew the answer, ifwe were speaking
Thai. He told me that over his many visits to Thailand, he fell in love with the hospitality and
welcoming attitude of its people, and that he had recently moved to Bangkok.
         My brother, then a high school senior, asked Martin what he did for work. Martin replied
that he was a senior partner at McKinsey. I had no idea what that meant, because I was going to
NYU to study biology and had no idea how business and industry worked. But my brothe:r: had
apparently read 7he McKinsey Wqy, and his eyes widened: "Oh you work at McKinsey?";
"McK.insey's such a cool firm"; "I would love to work there one day."'-
         The many times that I've spoken with Martin about our chance encounter on that
Emirates A380 plane, he always tells me how fi:mny he found my brother: "I can see his future so
clearly... In a few years when he's in college he'll be trying to network and ask for coffee chats to try
to land an internship at McK.insey." Apparently, while my brother sang the praises of the work
that McKinsey consultants did, all Martin heard was, "I like money; I want to make money."
         Apparently, I was more interesting for Martin to talk to than my brother. We were in
conversation for about four hours, from the time Martin asked ifwe were speaking Thai to right
b_efore the flight attendants began wheeling out the breakfast carts. I had never been to New
York before, so we spent about an hour on New York's cultural heritage and the different things
I should check out in my first month. Over those four hours, we spoke about a lot of stuff: the
nightlife scene in Bangkok; my goal to become a perfumiest (sadly it didn't pan out); how
different neighborhoods come to have their unique personalities; why Thai Airways has so much
potential but refuses to do anything about it; Maine lobster rolls; how the flight that we were on
ran out ofpastries!
         My impression then was that, if my brother was right, and the man I was speaking with
for hours was an important big shot at a big-name company, he must have been a very friendly guy
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to have given me so much of his time. We exchanged contact information, and I sent him an
email after I was settled into my freshman year dorm room.
          In my first semester of college, Martin and I got dinner a few times. Much like our
conversation on the plane, we spoke about current events and biology and criminal justice and
the exotic places that he had just travelled to; Martin was a better conversationalist than the
neurotic pre-meds in Biology 101. Outside of our dinners, Martin and I communicated via email.
As I re-read them now, I realize I shared things with him that I didn't even tell my parents! I
wrote to him about how I was struggling with school, about how beautiful the sunset over the
Manhattan skyline was, and even about the (few) first dates I went on. As we grew closer, we
started texting and now he is always towards the top of my most recently messaged contacts.
          Over the next few years, Martin and I continued to see each other when our paths
crossed, whether in Bangkok or New York. As he has slowly but surely settled into Bangkok and
made it more his home than it is mine, he's shown me the trendiest art galleries and bars, and
taken me exploring in neighborhoods I didn't know existed. Similarly, as I have come to know
New York through the eyes of a 20-something year old, I've invited him to re-experience what
it's like to be young in Manhattan.

        Every holiday season for the past six years, regardless of how often I had seen Martin that
year, I make sure to set aside time to attend his holiday party. The first holiday party, in
December of 2018, a few months after we met, I thought Martin had merely extended me an
invitation out ofpoliteness, so I declined and gave some excuse about having to study for finals.
But he could sense that I was holding back out of a very Thai sense of "grengjai"c - being
considerate of others- and insisted that he wanted me at his party. There, Martin welcomed me
and introduced me to many of his friends (who have since become my friends too) as "the NYU
student who he met on the airplane." He was generous and welcoming, and it was nice for me to
meet people outside of college.
        I feel very privileged to be invited back year after year to his holiday party, getting to
become closer with his many friends to the point of spendi'ng a few days every holiday season
with them. My own family is on the other side of the world, so to have people around me when
all my classmates are gone for the holidays, and when I would otherwise have been by myself in
New York, is something I'm really thankful for.

         I did not hesitate to volunteer to write a letter speaking to his character, if that was what
he wanted. I knew that sentencing letters are important, and I felt that I had a responsibility to
advocate, to the extent that I could, for my friend. He said that he appreciated my offer, and
would take me up on it because I "have unique perspective." He was probably referring to the
fact that our relationship is somewhat unusual, and one that came about purely due to chance. In
spite of the unlikely circumstances of our meeting, though, my camera roll has a couple hundred
selfies of us together, and I have too many stories that to recount them all would take more pages
than I have the stamina to write. I've known Martin now for about six and a half years -more
than a quarter of the time I've been alive - and he has been an important part of my young
adulthood. I owe a lot of memories to him, and I can't speak enough to his kindness, patience,
and generosity.

        Thank you very much for reading my letter about Martin.       ~f 4                     {0
                                                                      Rawit Assamon1;:7
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                                               14 February 2025

 Honourable Robert S. Ballou
 United States District Judge
 Western District of Virginia
 210 Franklin Road, SW
 Suite 206
 Roanoke, Virginia 24011-2208

 Re: Mr Martin Elling



 Dear Judge Ballou,



 I understand that in January 2025, Mr Elling pied guilty in the Federal Court of Virginia to one felony count
 of obstruction ofjustice related to his deletion of electronic documents in a federal investigation . I am
 writing as I understand Mr Elling is scheduled to be sentenced before you and wish to provide details of
 my dealings with Mr Elling to assist your understanding of the kind of person he is prior to his sentencing.

 I am a sixty-year-old British citizen and was raised and educated in the United Kingdom attending
Wellington College in Berkshire and the University of East Anglia. After completing my degree in politics
and economics I qualified as a chartered accountant with a major accounting firm and subsequently
passed further professional exams to become a Licensed Insolvency Practitioner. In 1995 I moved to
Hong Kong where I headed-up the insolvency practice of a different large accounting firm which I left
in 2020 to set up a boutique insolvency and litigation support practice. I sold this practice in 2010 yet
stayed on to work as Senior Managing Director until 2012. Since then, I have worked in a consulting role
providing insolvency and litigation support services. I currently consult for a British headquartered
international group where I hold the title of Partner.

I primarily resided in Hong Kong between 1995 and 2021, although my work covered South-East Asia and
Australia. I was active in the business community, working particularly closely with international banks,
solicitors and the Hong Kong government. During this time, as well as working for numerous high profile
international clients, I was retained as a forensic investigator for the Independent Commission Against
Corruption ("ICAC"), was engaged by the Department of Justice to prepare expert reports and give
testimony in various criminal trials in the High Court and was retained to advise the Hong Kong Monetary
Authority ("HKMA") in connection with statutory protection of bank deposits. During weekends, I
dedicated my time to school-age rugby union coaching, having previously played to a comparatively
competitive standard.

I moved permanently to Thailand in 2022, and it is in Thailand where I first met Mr Elling when I sat
opposite him at a function in 2019 and discovered that we had the imminent intention of relocating to
Bangkok and were new neighbours. It quickly became apparent to me that Mr Elling was a highly
intelligent and accomplished man who, like me, was embarking on a comparatively new phase of his life
in Thailand. We (my wife and I) quickly became firm friends with Mr Elling, and this friendship developed
faster than may be expected when we found ourselves in a very strict COVID lockdown in 2020 during
which we lived in two of only three occupied units in a newly completed high-rise apartment building.

I would like to make the following specific observations in connection with my friendship with Mr Elling:
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            Mr Elling is an active member of the Rotary Club of Bangkok. While the Rotary Club is among
            other things a business networking club, Mr Elling has effectively retired his business
            interests, and his primary motivation is in connection with community service projects across
            Thailand. Having attended various Rotary Club functions to which Mr Elling has invited me, I
            have seen first-hand the high level of input and support he brings to fundraising events.
            During the time I have been friends with Mr Elling it is also apparent from the numerous
            friends from overseas he has introduced me to, that support for charitable causes while he
            was living and working in the United States has always been a key motivator.

    2       Mr Elling's commitment to the community in which we both reside is demonstrated by the
            fact that he persuaded me to join him in putting ourselves forward for election to the
            building's Residents Committee. In this capacity we have sat together in numerous
            committee meetings dealing with a range of issues, including assessing the merits of
            various actions against the developer. I therefore have direct experience of the tireless time
            commitment Mr Elling has made towards his community for no reward . Particularly, I have
            been impressed by his commitment to look after, mentor and develop staff employed in the
            building at all levels.

    3       Mr Elling is an enthusiastic and proactive supporter of local and national art and culture and
            is a member of the Siam Society under Royal Patronage. Together, we have attended
            numerous art and antique exhibitions and music concerts (both intimate and large and often
            with an underlying charitable purpose). Mr Elling always seeks to engage directly with the
            artists and musicians, many of whom have become his personal friends and whom he seeks
            to help in the promotion of their careers.

    4       In addition to being generous of his time, Mr Elling has been cognisant that relocating from
            Hong Kong to Bangkok (where my wife and I initially knew comparatively few people) can
            hold challenges. He has gone out of his way to introduce us to his old friends and new
            acquaintances and to find ways to involve us in interesting events to understand Thailand. I
            am grateful for the thought and empathy that Mr Elling has extended to both my wife and I
            during our integration into our new lives in Thailand.

    5       Mr Elling's commitment to understanding and supporting Thai culture is evidenced by his
            learning to speak the Thai language and his efforts to learn to write it too (something very
            few foreigners ever attempt). This commitment is further demonstrated by his extensive
            exploration, often with contemporaries ofthe Rotary Club, of numerous Thai provinces, many
            of which are undeveloped, remote and seldom visited by foreigners. As a result of this
            investment in time Mr Elling has developed a broad understanding of Thai politics and the
            Buddhist religion and many issues impacting the country.

While I could give numerous other specific examples of Mr Elling's character and generosity, I hope the
above gives a flavour. I have got to know Mr Elling extremely well in the past five plus years, and as a close
neighbour see him on an almost daily basis when we are both in Thailand during which we regularly catch-
up on each other's news.

Simon Richard Blade
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February 7, 2025

Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208
USA


The Honorable Robert S. Ballou,

Re: Letter in Support of Mr. Martin Elling

My name is Paul David Bromberg. I have lived in Bangkok, Thailand since December
1997.

I worked in the corporate investigations industry in Asia from 1988 to 2019. From 2003
to 2019, I was co-founder, Chief Operating Officer and then Chief Executive Officer of
my own ti rm Spectrum Asia. In 2019 I retired from Spectrum Asia and became an
independent consultant on gaming regulation. My clients include the Gambling
Regulatory Authority of Singapore (previously the Casino Regulatory Authority of
Singapore and the Ministry of Home Affairs, Singapore), with whom I have worked since
2005, a number of casino operators and financial institutions. From November 2022 to
November 2023, I was a member of the Advisory Panel on VIP Gaming to the
Independent Liquor and Gaming Authority of New South Wales, Australia.

I am a Contributing Editor to Arts ofAsia magazine (2013-present) and was previously
the Editor of the Journal of the Siam Society (2012-2023). I have been actively involved
in the arts scene in Thailand for the last 20 years, regularly giving lectures around the
world on various aspects of Thai and Chinese art and have had two books and multiple
articles published.

I have known Martin Elling since mid-2020 when we were introduced by mutual friends
in Bangkok. I am writing this letter as I understand that Mr. Elling has been convicted of
criminal conduct.

Over the last 4.5 years, Mr. Elling has become a good friend with my wife and myself.
We have been on several trips together within Thailand and we also spent a week
together in Vienna, Austria in June 2022 where Mr. Elling graciously acted as our tour
guide as he is very familiar with the city. I regularly visit antique galleries and attend art
auctions with Mr. Elling in Bangkok. We share an enjoyment of Thai history and culture
and an appreciation for Thai arts and crafts. Mr. Elling has also been learning the Thai
language in order to be able to immerse himself into Thai culture.
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 Mr. Elling and I are also both active members of The Siam Society Under Royal
 Patronage, an institution established in 1904 to "to promote knowledge of the culture,
 history, arts and natural sciences of Thailand as well as those of neighboring
 countries." We regularly attend Siam Society lectures together about Thai history and
 culture and have joined several Siam Society lecture tours together. We also usually eat
 together l:>efore the Siam Society lectures. My wife and I also dine regularly with Mr.
 Elling and mutual friends at our respective homes or various restaurants across
 Bangkok.

 Mr. Elling has been an active member of Rotary Thailand since I first met him. He
 regularly travels both within Thailand and overseas representing Rotary Thailand, and
 has actively been involved in their charity projects and initiatives. He also kindly
 arranged in 2023 for me to give a lecture on Thai silverware to his Rotary Club in
 Bangkok.

 I am also aware that for some time Mr. Elling has been considering how and where in
 Thailand to launch a children's charity. We have discussed this initiative several times
 but he has yet to find the right project. Although he does not generally publicize this, I
 know that, in addition to the many Rotary projects to which he contributes, Mr. Elling
 always makes a generous donation when we visit temples and that he also donates to
 the Red Cross, the Mercy Centre orphanages and the Children of the Forest education
 program in Thailand.

 In all my time spent with Mr. Elling, I have found him to be a very friendly person, who is
 one of the most generous, considerate and ethical individuals I have encountered. He
 always treats people with due consideration. For example he often asks after the
 health of my wife if she has been unwell and is always solicitous of his friends.

 I hope that this information is of assistance and provides a helpful picture of Mr. Elling's
 life in Thailand.


~ faithfully,


 Paul
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                  EXHIBIT A-5
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Li-Kai Chen

To The Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
Suite 206, 210 Franklin Road, SW
Roanoke, Virginia 24011-2208



Dear Judge Ballou,

My name is Li-Kai Chen, and I am writing to provide my personal perspective
on the character of Mr. Martin Elling. I am fully aware that Martin has pleaded
guilty to obstruction of justice, and I understand the seriousness and
implications of this.

I would like to share my deep and long-standing personal experiences with
Martin to give you a fuller understanding of the man he truly is — a man I
have had the privilege of knowing for the past decade. Martin is a person of
rare generosity, unwavering integrity, and deep commitment to helping
others. He has impacted my life and the lives of many others in profound
ways, and I hope to offer insight into the qualities that define him.

My Background and Connection to Martin Elling

By way of introduction, I have spent much of my professional career at
McKinsey & Company, where I was a Senior Partner. Over my two decades at
the firm, I held leadership roles, including serving as the Global Head of the
Education Practice and the Managing Partner of McKinsey in Malaysia. Much
of my work focused on improving education systems around the world, raising
learning outcomes, developing leaders, creating opportunities and enhancing
employment prospects especially for disadvantaged communities. Since
retiring in 2024, I have continued my work in youth leadership development,
as well as serving on the boards of various corporations, education
foundations, and non-profit organizations here in Asia.

I first met Martin more than ten years ago, and I have come to know him very
well — not only as a colleague but as a mentor and friend. I had the
opportunity to work closely with him while at McKinsey on client projects and
internal initiatives, learning from his wisdom, guidance, and strong ethical
compass. Even after he moved on from McKinsey, Martin has continued to be
a source of steadfast support in both my professional and personal life.
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A Mentor, Guide, and an Inspiration

From the moment I met Martin, it was clear that he was a leader of deep
conviction and compassion. He was not just a brilliant and committed
professional — he was a leader who sincerely and truly cared about people.
What set him apart from many others in leadership roles was his deep sense of
stewardship and personal responsibility toward others, particularly junior
colleagues.

Martin had a remarkable ability to recognize potential in people and go out of
his way to cultivate it. I saw this firsthand in my own career. When I first met
Martin, I was navigating a particularly difficult time professionally. I was at a
crossroads, questioning my own capabilities and whether I was truly making a
difference. Martin recognized this struggle without me voicing it. Without
hesitation, he took the time—his own personal time—to mentor me, to listen,
and to offer guidance.

Rather than providing easy reassurances, Martin challenged me to rise to my
full potential. He helped me see my own strengths when I was struggling to find
them. He encouraged me to take on greater responsibilities, to step out of my
comfort zone, and to develop as a leader. This was not a one-time gesture— it
was a consistent pattern of behavior. During the time I have known him, he has
been the person I could turn to when I needed wisdom, encouragement, or just
someone to remind me of the values that mattered the most to me.
Martin didn’t just mentor me — he made it his mission to uplift countless
other colleagues, especially younger team members. I recall numerous
instances when he would carve out time for those who were struggling,
whether it was a young analyst unsure of their career path or a colleague
dealing with personal hardships. I have seen Martin step in to advocate for
individuals who were overlooked, ensuring they had the opportunities and
support they needed to succeed and thrive.


A True Servant Leader

Beyond his mentorship, Martin has always been the kind of leader who puts
others before himself. I remember one particular project at McKinsey that
involved working with an education system in an underprivileged community.
The workload was intense, the hours were long, and the challenges were
immense. Many leaders in his position would have stayed away from the day-
to-day challenges, or delegated the toughest parts of the project to others —
but not Martin. He worked tirelessly alongside us, ensuring that we did not
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shy away from the difficult but necessary details, that no stone was left
unturned, and that we were truly making an impact.

Even in the most difficult moments, he remained positive and focused on the
bigger picture. He had a way of making people feel valued, no matter their role
in the team. I recall how he always made a special effort to engage with
support staff, treating them with the same kindness and respect as he did
senior partners. It was not uncommon to see him taking special care and
investing disproportionate time to help junior team members or making sure
that even the smallest contributions were recognized.

His humility is one of his most defining traits. Despite his impressive career
and achievements, he never sought recognition for himself. I have seen him
deflect praise onto his teams, ensuring that credit was shared and that others
were uplifted. He has always believed that leadership is about service, and he
lived that belief every single day.

A Character Defined by Acts of Kindness

There are so many moments that illustrate Martin’s deep kindness. I
remember an instance when one of our colleagues suffered an unexpected
personal tragedy. The situation was devastating, and while many of us offered
our condolences, it was Martin who stepped up to truly be there for this
colleague. He quietly took care of logistics, ensured that they had the support
they needed, and checked in on them regularly — long after others had moved
on. He has done this on multiple occasions — always putting the well-being
and welfare of others at the forefront, often above his own interests.

One small, but very telling story about Martin happened outside of work. A
few years ago, we were traveling together when he encountered an elderly
employee at the facility, who it turns out was in mental distress. While most
people would have merely had a transactional interaction or ignored him,
Martin immediately stopped, spoke with him, listened properly, engaged him
about his personal difficulties, and personally made arrangements to help him.
It was a small but profound example of his instinctive kindness — he never
ignored someone in need, no matter how busy he was, or the circumstances.

A Conviction to Doing What’s Right

Perhaps what I admire most about Martin is his unwavering sense of integrity.
Although I recognize this may be contrary to his guilty plea in the instant
matter, he has always been the person who pushed us to do the right thing,
even when it was difficult. He constantly challenged us to hold ourselves to
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higher standards, whether in business, in community work, or in our personal
lives.

I recall a time when we were working on a particularly high-stakes internal
project to launch a new service offering that involved complex decisions and
navigating across many senior stakeholders. There was pressure to take an
expedient path forward to save time and avoid contentious discussions but
perhaps would have compromised on the impact we would have had. Martin
was the one who consistently pushed us, insisting that we prioritize doing the
right thing over convenience. His moral compass never wavered, and his
courage in standing by his principles was incredibly inspiring.

A Final Thought

I understand the seriousness of Martin’s current circumstances. He has taken
responsibility for his actions, and I do not seek to diminish that. But I also
know that Martin’s life has been one of generosity, service, and deep integrity.
He has given so much to so many people, and I can say without hesitation that
he is one of the most selfless and kind-hearted individuals that I have ever had
the privilege of knowing.

I respectfully offer this personal statement for your consideration — to
hopefully provide a fuller picture of a man who has dedicated his life to
helping others, to standing by his colleagues, and to making a positive impact
in the world. I believe that Martin has much more to give, and I hope that, in
your decision-making, his remarkable character and tremendous positive
impact on his communities and those around him are taken into account.
Thank you for your time and consideration.



Sincerely,




Li-Kai Chen
1 February 2025
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Honourable Robert S. Ballou

United States District Judge

Western District of Virginia

210 Franklin Road, SW Suite 206

Roanoke, Virginia 24011-2208




Dear Judge Ballou,




I understand that my friend, Mr. Martin Elling has pleaded guilty in Federal Court in Virginia
to one felony count of obstruction of justice related to his deletion of electronic documents
in a federal investigation. I was a colleague of Martin and have worked closely with him at
McKinsey & Company, Inc. from 1993 to 2012. Most of our collaborations were in Asia
Pacific where I was based. We have formed a close friendship over that time.

I worked at McKinsey & Company, Inc. for 28 years. For 26 of those years, I was based in
Hong Kong where I was a Senior Partner. One of my areas of expertise is Pharmaceutical and
Medical products. My professional collaboration with Martin pertains to serving Johnson &
Johnson from 1994 to 2012. I am currently retired and reside in Sydney, Australia .

Martin is the most genuine caring and generous person I know. Over the years, I have seen
him affecting the lives of others positively in many ways. A few examples are as follows:

•   Supratim Bose: Supratim was the Country Manager of J&J Singapore when we first
    worked with him in 1994. Over the next few years, Martin became a close counsellor
    and friend to Supratim . He was able to win Supratim trust and respect through always
    putting Supratim's interest s ahead of any of his own, and that of McKinsey. I have
    observed their interactions closely through the years and their discussions have always
    been about how to advance the interests of the organization, how best to develop his
    people, how best to navigate and align the interests at headquarters to get things done.
    He cares deeply about Supratim's success and would offer him insights on what the
    concerns are of different executives at headquarters in New Brunswick and how best to
    interact with them. He never pushed for projects to advance his interests within
    McKinsey. For example, the "One to Win" project that Supratim credits as one of the
    best work we have done for him, was primarily a small workshop type arrangement with
    Martin spending time with his managers and him challenging each other on their
    aspirations. It is through his selfless dedication and care for Supratim that built the tru st
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      and friendship over time. As a result, Supratim saw Martin and McKinsey as his partner
      in Asia Pacific and only considered working with us when he needed project work done.


      •    Bill Dearstyne: Bill was the Head of Asia Pacific when we worked together in 1994.
           Bill is a very disciplined, stern, no nonsense individual and a harsh judge of character.
           He does not tolerate people who do not have strong work ethic and have strong
          integrity.   We have been asked to remove several consultants over the time we
          served him because they didn't meet his standards. Bill on the other hand truly liked
          Martin. He appreciated the fact that Martin challenged and made his people better,
          was straightforward and offers his honest and objective opinion on how best to grow
          his organization and develop his people. Aside from his efforts in helping develop
          Supratim mentioned above, Martin also coached Ong Ai Hua, a country manager in
          Singapore who eventually succeeded Supratim as Head of J&J Medical Asia Pacific. I
          remember him sitting down patiently with her to coach her on how best to develop
          the orthopaedic franchise. Bill found conversations with Martin engaging and trusted
          his recommendations and judgement. Martin was forthright, never afraid to offer
          his opinions and often challenged him and offered unique perspectives on issues.
          This professional relationship turned into a strong friendship, and eventually into a
          father-son type relationship. Martin would visit Bill and his wife in Austria almost
          every year and Bill and his wife would occasionally attend Martin's Christmas parties
          in New York and stay with him in his Bangkok apartment when they are there. Bill
          tells me that Martin has brought great joy to him and his wife through the friendship
          they developed. Bill called me extremely concerned when he first heard of Martin' s
          involvement in the Purdue situation. He couldn't believe the news and his level of
          concern and distress reflects how much Martin means to him.


  •       My daughter: Martin has known my daughter since she was born. He is definitely
          her favourite " uncle" . My daughter said he is the most generous person she knows.
          He would allow her to stay in his apartment in New York, even when he is not there.
          He would often take her to meals at restaurants he knew. More importantly, he is
          generous with his time. I remember on one of our visits, he rented a car and drove
          us to Brooklyn to show us some of the interesting neighbourhoods. On another
          occasion, he took us around the neighbourhood near his apartments, telling us
          about the history of different buildings (like the Chrysler building, the Morgan Library
          and museum). It is this sort of caring and generosity that has endeared him to my
          daughter and she loves being in his company.


  •       Me: Martin clearly contributed to my success at McKinsey. It is not just his ability to
          gain the trust of clients and the insights and value he brings in problem solving. I
          remember at least on two occasions when he dropped everything he was doing and
          flew to Hong Kong and China to help me during a client crisis. One occasion was in
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        2010 when we faced a tough competitive situation at J&J China, Martin flew from
        New York to Shanghai and spent two days helping with the proposal and persuading
       the client. Another incident was a client dispute in 2004 in Asia Pacific on a project
        he was not involved in. Martin personally devoted an enormous amount of time and
       effort talking to the client's boss as well as the client, both of whom he knows, to
        help resolve the situation. He didn't have to do this but he is the type of person who
       would truly do his outmost to help a friend in need. During my retirement party,
       Martin went out of his way to obtain testimonials from clients we served which I
       deeply appreciated. He also flew to China to have a personal farewell celebration
       with me and a few friends.


       On a personal level, like my daughter, I have benefitted from Martin's generosity.
       Every time I visit, l stay with him, either in New York or Bangkok. He would take me
       to many interesting places to sightsee (for example, he got a car to take us to
       Ayutthaya, the ancient capital of Thailand and explained the history of the different
       temples and castles there). I also personally witnessed his extending his generosity
       and care to many different people. Some examples:
   •   I met his Thai tutor, whom he provided a place to stay during Covid.


   •   I saw him make generous donations to the Rotary Club in Bangkok and participate in
       their community efforts. His rotary club colleagues I met talked glowingly about the
       immense impact he had at the organization.
   •   When I was teaching some McKinsey courses after my retirement, I met a girl from
       our Philippine office who told me how grateful she was to Martin who mentored her
       and help her pursue her passion .

Martin is one of the kindest, most generous and caring person I know. He is a true friend
and always willing to help people in need. In all my interactions with him, he has always
been honest, and conducted himself with the highest integrity. And as shown above, he has
really positively impacted the lives of many people he has interacted with.
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  Caspar Ebrecht


  To
  Honorable Robert S. Ballou
  United States District Judge
  Western District of Virginia
  210 Franklin Road, SW
  Suite 206
  Roanoke, Virginia 24011-2208
  U.S.A.




  Brussels, 20 February 2025



  Dear Judge Ballou,

  Re: Letter on Behalf of Mr Martin Elling



  With this letter, I would like to describe my personal relationship with Mr. Martin Elling, whom
  I have known for over 35 years and whom I consider a very dear friend. I am writing this letter
  in the knowledge that Mr Elling has been convicted of criminal conduct.

  My name is Caspar Ebrecht. I am a German national living in Brussels, Belgium, where I work
  as a Legal and Policy Officer. Together with my wife Ana, I have lived in Brussels for over twenty
  years. We have three children. I met my wife at university in Berlin, before we both moved to
  Brussels. Ana and I are both involved in European lawmaking and politics. We have both
  studied law, and we are both very much interested and involved in legal and international
  affairs.
  I have known Martin Elling since 1988, when he was 24 and I was 14 years old. At the time,
  Martin came to Munich, Germany, as a scholar with the Fulbright Program, for a one-year
  study at the University of Munich. The program included an initial one-month stay with a
  German host family. We were his host family and Martin came to live at our home near
  Munich. Due to Martin’s open, communicative and entertaining nature, everyone in our family
  was quickly endeared to him. Ten years his younger, I was very eager to learn from Martin
  about his college studies, his experiences and about life in the United States. Despite our age
  difference, Martin and I got along very well. He was very open and interested in me, and we
  often had long and interesting discussions about German and American culture, history,
  philosophy or music. Soon, he became like an older big brother to me, and we spent time
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  together on weekend trips to the Alps or to Lake Constance. These first trips away from home
  were important for me and I have always been thankful to Martin for these experiences.

  At the same time, Martin and my father also became very close friends. My father soon
  introduced him to many of our family’s friends and to my father’s business partners. From my
  memories, my father always valued him as a resourceful and well-read discussion partner.



  When I was at the age of 15, my parents floated the idea that I spend some time at a school in
  the US. Martin was immensely helpful in this regard, explaining the different options and
  requirements for applying to boarding schools in the US. He even took time with us visiting
  different boarding schools in New England in the fall of 1989. At age 16, from September 1990
  to June 1991, I spent one year at Middlesex school in Massachusetts. During that time, Martin
  was in his second year of law school in Harvard, living in Cambridge, MA, with two of his
  roommates. On some weekends, Martin would invite me spend time with him and his friends
  at their place, or on trips around New England. In this context, I got to know Martin as a very
  generous and caring person who was especially interested in helping and accommodating
  international students from his year at Harvard Law School. I remember that he was a central
  figure in bringing international law students from that year together. Martin was as curious in
  learning from other students’ personal lives and backgrounds, as he was willing and eager to
  share his own values and experiences with them. Some of the friendships he formed at that
  time exist until today.

  I remember many dinner parties and trips that Martin organised with a group of international
  students, to places like Cape Cod or New York. Martin was tireless in his efforts to explain
  American culture and history to us foreigners, making sure everyone felt appreciated and had
  a special time. Martin had a fantastic talent to bring together people from different
  backgrounds and countries. Many of the (American and international) students from that time
  are still his close friends, and Martin has often invited them to his home in New York and
  Bangkok.



  During my time at Middlesex school, as I was away from home for ten months, Martin also
  made sure that I had a place to go to during holidays or long weekends. He would invite me to
  his apartment, or we would go together to visit his father or on ski trips with friends.
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  Ever since I have known Martin, I have esteemed him as a very committed person who values
  friendship and family above anything else. Martin had a very close and caring relationship with
  his own father, which I could witness on different occasions when I visited Martin’s father
  together with him. I also remember that Martin looked after his mother when she was very ill,
  at the time when he was at his first year in Harvard. Martin took time off from his classes to
  make sure he could spend as much time as possible with her. How much Martin values family
  is also apparent by the fact that he continued to look after Rosalie, Martin’s father’s second
  wife, after his father had died.

  When I was in my early twenties and Martin his early thirties, he had started to work for
  McKinsey and lived in New York. We kept in close contact and exchanged our professional
  experiences. During that time, Martin developed his career which soon took him to business
  trips in Europe and around the world, allowing him to combine his work with his passion for
  travel.

  There were many occasions when Martin would visit my parents in their home near Munich.
  At least every other year, he would spend Christmas with our family, which he chose as his
  second family. At those occasions, Martin brought very carefully selected presents for
  everybody, which he had gathered on trips around the world.

  My father would often refer to Martin as his “adoptive son”, and the two shared a very special
  bond despite their age difference of over thirty years. Until my father’s death in 2008, Martin
  was a very loyal friend to my father. During the years, Martin made sure to pay visits to my
  parents whenever his work schedule allowed him to.

  I remember fondly when my father and I visited Martin in New York in November 2000. This
  was a very memorable trip for the three of us. We would go to theatre plays, restaurants,
  excursions outside the city and do sightseeing. Although he was very busy at the time, Martin
  made a point in showing us his city, the surroundings and introduced us to many of his friends
  and colleagues.

  When my wife and I got married in Portugal, we were very glad that Martin accepted to be our
  best man. Martin has been as generous as anyone can be to our whole family. He invited Ana
  and me to his home in New York, where we spent memorable time together. When our three
  children were born, Martin would always make a point in calling us and asking about Ana’s
  and the children’s health, and sending very thoughtful and beautiful presents.


  Martin also very generously invited Ana, me and the family to his 50th and 60th birthday
  celebrations, which he prepared and organised with love and great attention to detail. At these
  occasions, it was evident how much Martin values and maintains his friendships with people he
  met throughout his life. How much his friends value Martin was apparent from the
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  number of people attending these celebrations, and the speeches that were given at the
  occasion.

  Throughout the nearly 40 years that I have known Martin, I have seen his commitment to
  family and friends, his generosity and loyalty has been unparalleled. I count Martin among my
  closest friends, and I know that my family and I can always count on his advice and his
  unwavering support.



  Thank you for reading my letter about Martin.



  Kind regards



  C
  Caspar EBRECHT
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Dr. Katharina Ebrecht




Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208




                                                                                         February 2, 2025



Character Statement: Martin Elling



Dear Judge Ballou,

My name is Katharina Ebrecht and I was born in Munich. I am married and the mother of two
daughters (15 and 17 years old). After my studies at the University of Heidelberg and my training as a
librarian in Cologne, I worked in libraries in Cologne, Paris and Berlin . I have been head of the library
at Reutlingen University since 2003. I am an honorary member of the board of the German Library
Association and of the Ti.ibingen Rowing Club. I come from a Mennonite family and am a member of
the Mennonite congregation in Gronau.

I know that Martin has been charged in court and pied guilty. I have read the information about the
case that is freely available on the Internet. The subject of the proceedings is the destruction of
documents related to his work for Purdue Pharma that could have been evidence.

I've known Martin Elling since 1988, when my parents (who died in 2008 and 2011) agreed to take
Martin in as a Fullbright Scholar. My parents lived near Munich. Martin and I got on very well right
from the start and talked a lot about ,,God and the world". During the many years that we have
known each other, we have seen and spoken to each other regularly and frequently, even over long
distances. I spent many Christmases with Martin at my parents' house. Martin, my siblings and I
share many memories, including of my now deceased parents, for whom Martin was like a son. This
bond of memory keeps us close.

I lived with Martin in Cambridge (Massachusetts) for a few weeks during my studies in 1991. I
worked in a bakery to improve my English and fam iliarise myself with everyday working life in the
United States. Martin made my arrival much easier - also through the contact with his student friends
and flat mates.

When my mother fell ill with a brain tumour in 2011 (from which she died three months later),
Martin came to Germany from New York to visit her. That meant a lot to her, she was very fond of
Martin and was very happy about his visit.

I visited Martin in New York several times over the years of our friendship. We also went on various
trips to Germany, Austria and Italy.
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What kind of person is Martin?

He talks a lot, and sometimes you can't get a word in yourself when you're talking to him. What he
says is entertaining and funny, which is why I always enjoy listening to him. He thinks very quickly
and has an incredible gift for languages. His mother was from Austria, but Martin did not grow up
bilingual (this was probably not common in the 1960s). As a teenager, he learnt German on his own
initiative, partly so that he could communicate better with his grandmother in Salzburg.

Martin is interested in people, architecture, modern art and travelling. He has seen a lot of the world.

Martin can inspire people with his words. He is extremely interested in other people, makes contacts
and friends quickly and cultivates these friendships carefully. After our parents died, he invited me
and my siblings to spend a weekend together in Berlin. That was very thoughtful and brought us
closer together. A few years ago, Martin invited me to Venice for the carnival. At the time, I was very
exhausted from working in the library and doing care work at home. The time out in Venice gave me
strength again. Martin is a person who cares about other people and has their well-being at heart. He
thinks about his fellow human beings and looks after them. I have always found Martin to be an
open, positive, approachable and attentive person.

One of Martin's outstanding qualities is his generosity. It is evident in his many invitations to friends
and relatives. He forges strong bonds of friendship. When choosing his friends, he makes no
distinction between rich and poor.

Martin has a strong bond with his family. As an example, he supports his deceased brother's family
(wife and children) financially and visits them regularly. I know that Martin made generous donations
to various organisations and initiatives over the course of his life. His aim has always been to do good
in the areas of health, education and the environment. For example, Martin has regularly donated to
Medecins sans Frontieres for years.

In Thailand, Martin has got to know a number of people from different backgrounds over the past
few years. He is learning Thai. He is very interested in the country, its history, its development and its
culture. He also supports social projects in Thailand and invites his friends to get involved too.



Thank you for letting me express my history with Martin.




Katharina Ebrecht
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Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208

Dear Judge Ballou,
  My name is Marilyn Elling. I am Martin Elling's step-mother. I have known him for 33 years.
was married to his late father for 27 years before his passing in 2018. Prior to my marriage to
Mr. Elling's father, I was a journalist and public relations professional. I am now retired. I
understand that he has pied guilty to a crime.
  Because of my knowledge of my late husband, I am certain that Martin was raised with the
deepest regard for the welfare of others. My husband was a professor of health sociology at
Cornell and the universities of Pittsburgh and Connecticut and was devoted to making life better
for all workers. He instilled this zeal for improving the lives of others in his three sons.
  During my marriage to Martin's father, I knew Martin as a caring and generous son who was
always available to help when needed. During a long and severe health crisis his father faced,
Martin made sacrifices to be here with us and to be a major factor in helping me deal with the
many decisions that needed to be made.
  I know he has been there for his brothers and members of their families who needed
emotional and financial support. For example, he financed private pre-school for the daughter of
one of his nieces who was struggling. Also, he has several god-children, who receive his strong
and loving support.
  Martin has been a strong lynch-pin helping to keep his far-flung family together. Since his
father's 70th birthday, he has planned and paid for a family reunion every five years to which all
members of the immediate family (about 12-15) were invited.
  Has caring nature has led him to be active in many good causes over the years, both
nationally and in New York City, where he has lived for most of the time I have known him. He
served on the board of the Nature Conservancy and generously supported organizations like
Habitat for Humanity, City Harvest and Doctors Without Borders. I've heard he used to ask for
funds for UNICEF at Halloween instead of seeking treats.
  I hope I have helped give you a feel for the kind of person Martin is. Also, I should add that he
has continued to support me and make sure I am an integral part of the family in the years since
his father passed away. That has been very important.




~ t~
Marilyn Elling
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February 23, 2025



Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
21 o Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208


Dear Judge Ballou,

I am writing to you with respect to Martin E. Elling whom I understand has pled guilty to criminal
conduct and is awaiting sentencing in your Court.

I am Martin's eldest brother. Having worked in education and social services for more than 40 years,
I am now retired and live in Oak Park, Illinois in a home my wife and I have owned for 33 yea rs. I am
on the Board of a local not-for-profit and am also its Treasurer. I am also a volunteer Commissioner
with the Village of Oak Park and volunteer with many other not-for-profits whenever the chance
arises.

I left home to go to college just after turning 18, which means that Martin had just turned 7. Aside
from one six-month period when I was in college and an even shorter three-month period when
Martin was in college, I have not lived within 800 miles of Martin for the past 45+ years. We see each
other at least once a year, around the holidays, and do, of course, stay in touch in between which,
thankfully, has only increased since his move to Bangkok, Thailand.

I know quite a bit about him including his work history, his donations to social and environmental
causes that affect the quality of life for us all, his service work with the Bangkok Rotarians and his
remarkable efforts to immerse himself in the culture, including the language, of his new home.

But this is what has always impressed me the most; his friendships , of which there are many
spanning the globe and going all the way back to his college days. Now, I'm sure you may be
thinking, " Everyone has friends and, more often than not, upon closer inspection, they turn out to
be just acquaintances." But not so for Martin Elling.

How do I know that? Every time we talk, whether in person or, nowadays, via Zoom, I will invariably
hear about the latest goings-on with one or more of his friends and, believe it or not, with their sons
and daughters or parents. He is the god father for at least one of those children. He regularly visits
the children of a couple that passed away several years ago. His friends are the people who fly
thousands of miles to be with him on his birthday and to see him at Christmas in New York. And it is
not uncommon for him to excuse himself from our company to take a call from a friend in a distant
time zone who is agonizing over a new job, a choice needing to be made among possible
apartments, or problems they are having caring for an elderly parent.
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Do I care? Not at all. But that's the point. Martin does. And he cares deeply enough about his many
friends that, to him, that's important enough to share with his brother. These, Judge Ballou, are
dozens of people for whom Martin cares deeply and by no means run-of-the mill acquaintances.

It is, perhaps, because of his capacity for "fellow feeling", if you will, that he is able to be and, in
fact, is what I consider to be the "glue" in our family. He is the one that visits with us all. He is the
one who cares about and shares with us our family history..He is the one t.hat e.nsures our younger
relatives have a decent shot at life no matter where they are or what their circumstances. Without
Martin, I probably would have dropped out of contact with my stepmother when my father died.
And, without Martin, I would have lost contact with my sister-in-law and her children and
grandchildren when my middle brother died. But that would not have been the kind of world that
Martin lives in and for.

I appreciate the opportunity to communicate with the Court about my brother's, Martin Elling's,
character. And I appreciate the time the Court will take to consider my perspective.

Respectfully,




Ronald A. Elling
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                                 DEAN G. FALVY



                                                    February 12, 2025


 Honorable Robert S. Ballou
 United States District Judge
 Western District of Virginia
 210 Franklin Road, SW
 Suite 206
 Roanoke, Virginia 24011-2208

         Re:     Martin Elling

 Dear Judge Ballou:

         I am submitting this letter in connection with the sentencing of my friend, Martin
 Elling, before your court.

         I have been an attorney in private practice and a member of the Washington State Bar
 Association in good standing for over 32 years. My practice focuses on technology
 transactions and commercial negotiations. For the past 11 years, I have also taught courses in
 Constitutional Law, International Business Transactions, and Payment Systems at the
 University of Washington School of Law in Seattle, where I am currently an Affiliate
 Instructor of Law. The views expressed in this letter are my own.

          Since we met as first-year law students over 35 years ago, Martin and I have been close
 friends. We were in the same orientation group and first-year section. He lost his mother to
 cancer during his 1L year, and I saw how deeply that affected him. Although he struggled to
 maintain academic focus for a time, his optimism and resilience overcame his despair. We later
 shared an off-campus apartment in our 2L and 3L years. I was also an officer of the Hanrard
 International Law Society, which Martin led as president and transform ed into one of the
 largest and most active student organizations on campus.

         In the three decades since our graduation, we have remained in close contact. I have
 frequently visited Martin at his home in New York, as he has visited mine in Seattle. We have
 travelled together when our paths have crossed, and on trips organized with mutual friends
 from our law school days. We also have corresponded and spoken by phone on a regular basis
 throughout this period.

         Throughout this long-standing association, Martin has been one of the most open-
 hearted, gentle, and generous people I have ever known. H e never hesitated to extend his
 time, his counsel, or his help when friends (or friends of friends) were in need. Martin has
 always treated friends, classmates, and colleagues, from every part of his life, as having unique
 and intrinsic worth. He was always able to lift people up when they were down, to help them
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 find a glint of sunlight in a gloomy sky. Despite his professional success and the many demands
 on his time, he never forgot a friend. He remained the same person he always was -- a reliable,
 kind, and thoughtful.

        Martin's friendship extended beyond individuals to their families and beyond. I have
 often known him to act as a mentor to colleagues and to children of mutual friends. He is a
 godparent to five children and an avuncular figure to many more. Friends and relatives of
 mine making their first visit to New York, even if they had never met Martin, found themselves
 warmly received as guests at his apartment, often with his services as a tour guide. They soon
 became part of his world in their own right.

         Martin takes a genuine interest in every person he meets, and listens carefully to how
 they view the world. No one, having met Martin, is ever treated as a stranger. His natural
 empathy, openness, and gregariousness have allowed him to bridge cultures and bring different
 people together.

         I have always known Martin to be a concerned and active citizen, wishing to make a
 positive impact on the world. He has been generous with time and resources to many causes,
 including the Nature Consenrancy, Habitat for Humanity, New York Cares, City Harvest, Thai
 Red Cross, Bangkok Mercy Centre, Children of the Forest, and many other charitable and civil
 society organizations. He has given significant support to Rotary lnternational's fund to
 eradicate polio, a disease which his mother barely survived in WWII-era Austria.

         I write this letter in awareness that Martin has pled guilty to a serious criminal charge
 in your court. I do not excuse his conduct or minimize its gravity. Martin's guilty plea confirms
 that he made serious errors of judgment, and he must always carry the weight of the resulting
 consequences.

         The person I know, and have known for many decades, would like nothing more than
 to be a benevolent friend, and a force for good. Much of the world may not see him that way.
 But he has many, many friends who do. I believe that when this process is complete, Martin
 will do everything in his power to make amends for his mistakes and devote his many talents
 to benefit others.

         I respectfully ask the court to consider these qualities of my friend Martin as it weighs
 his sentence.

                                         Very truly yours,




                                         Dean G. Falvy




                                                 2
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                                                     New York, March 5, 2025


Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW, Suite 206
Roanoke, Virginia 24011-2208

       Re: Sentencing of Martin Elling

Dear Judge Ballou:

        I am writing to you in connection with the sentencing of Martin Elling for what I have been told is
one felony count of obstruction ofjustice for deletion of electronic documents in a federal investigation.

        By way of background, I am an attorney admitted to practice since 1988 and in good standing
now. I spent thirty years of my career practicing in large law firms - more than twenty as partner. Since
2017 I have practiced as an independent arbitrator sitting in commercial disputes in various industries. I
am a member of the American Arbitration Association' s panel of arbitrators, as well as the panels of
different international arbitral institutions such as the International Centre for Dispute Resolution, the
Singapore International Arbitration Centre and the Vienna International Arbitration Centre.

         My main pro bono project began while I was volunteering at a homeless shelter run by the church
of which I am a member in New York City. This shelter was part of an informal network of shelters run
by religious organizations in New York. The steering committee of this organization desired to formalize
its structure and obtain non-profit status. I volunteered my time to draft articles or organization and
incorporate the network. Once incorporated I successfully petitioned the IRS to grant 501(c)(3) status to
the organization and advised the board of directors for a number of years after that until the organization
was absorbed into a larger one.

       I first met Martin Elling in 1992 while on a sabbatical year four years into my legal career. At that
time we were both fellows of a German corporate foundation known as the Robert Bosch Foundation.
This was a year-long program created during the Cold War to introduce young American professionals to
economic, political and social circumstances in Germany. At the time, Martin was already a fluent
German speaker (his mother was Austrian) and had recently served as an intern in the German parliament.
He was also a graduate of Harvard Law School.

        Over the course of this year we became friends as I observed him and became more and more
impressed with his intellect and his deeply inquisitive mind as he probed and challenged the content ofthe
presentations made to us. In the second half of this year, we both were placed as interns in the
Treuhandanstalt, the German government agency charged with privatizing state-owned companies in East
Germany. We both were then privileged to observe and participate in a small way in the post-Cold War
transformation in Eastern Europe.

        Once we both returned to the U.S. and he launched his career at McKinsey, we remained close
friends. I started a family in 1994 and eventually had four children. Martin is the godfather of the two
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                                               -2-                          Hon. Robert S. Ballou



younger ones. He always took his responsibilities as godfather seriously and was generous with both his
time and gifts to all of my children. He has also mentored them, in particular the two boys, providing a
sounding board outside my immediate family and offering them advice. For many years, he was a de
facto member of our family, having a standing invitation to our regular Sunday dinners. He was in a
sense the "fun uncle" who took my children to entertainment venues and sporting events.

        While Martin never had children of his own, I was aware of his extended family of siblings and
nieces and nephews whom he supported generously such as investing in their and their children's
education and in enhancing their lives by purchasing or financing housing for them when they were
unable to do so. I recall that during the 2008-2009 financial crisis Martin saved one or more of his nieces
and nephews from eviction. Martin also spent many hours caring for his elderly father and step-mother
as they aged and became infirm.

        Over time Martin became increasingly successful in his career and advanced into the higher levels
of management at McKinsey. This brought financial success as well, which Martin shared with many
charitable causes in addition to his own family. I was aware of several of these causes in the area of
medical care both in the U.S. and abroad and for disadvantaged persons (Habitat for Humanity and New
York Cares as examples) and also for the environment. I participated personally in events he organized
for the Nature Conservancy. I recall attending a dinner in New York where he was recognized as one of
their major donors.

        Beyond the fact that I knew he had a senior role in the pharmaceutical practice at McKinsey I was
entirely unaware of his interaction with Purdue Pharma and other opioid manufacturers and the McKinsey
teams advising them until press reports began to emerge. When I read the couple of e-mails that were
reproduced in the press and which I understand form the basis of the charges to which he has pled guilty, I
found them uncharacteristic and difficult to reconcile with the person I had known for over 30 years.

          I don' t question that Martin's conduct in deleting documents was wrong. To me, however, this
does not obscure his many years of active community participation, support for not just his own family
and mine but also for many other friends and acquaintances, as well as his extraordinarily generous
contributions and devotion of his time to charitable organizations whose missions are to enhance civil
society, provide medical care to those who cannot afford it and to protect our living environment. I ask
that Your Honor keep these latter aspects in mind as you weigh the competing considerations in imposing
a sentence.




                                            4;~
                                             Frederick R. Fucci
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Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 240 I 1-2208


Dear Judge Ballou:

I am pleased to provide a character reference for Martin Elling, whom I have known for almost 29 years. I am
aware that he has been convicted of criminal conduct and that this letter may be taken into consideration in his
upcoming sentencing.

Last year, I retired from a 28-year career at McKinsey & Company where I was employed from August 1996 to
August 2024. For the last 15 years, I was a Senior Partner and held various leadership roles including: Managing
Partner of the Mid-Atlantic Office, Global Leader of the Operations Practice, Head of the Partner Review
Committee, and Chief People Officer.

In addition to my professional activities, I have been actively involved in non-profit and religious organizations.
served on the Boards of Episcopal Relief & Development and Union Theological Seminary, and I led a 3-year
Taskforce to evolve the Episcopal Church's national governance. I am an active member of my Episcopal Church
parish. I am also active in our local Roman Catholic parish, supporting my husband who is a Catholic deacon.

I first met Martin in August 1996, in my third week at McKinsey. I was at an introductory training program, and
he--a few years ahead of me and a manager-- joined two weeks into the program as part of the faculty. It was a
very intense four-week program, and the participants were all from what at the time were non-traditional
backgrounds for new consultants. Many, like I did, came straight out of PhD programs and did not have any
business or corporate experience. As such, stress was running high. The unskilled Manager in charge of the first
two weeks of the program unwittingly fanned the angst of the group quite significantly, so Martin arrived to an
unusually tense situation in week three. It was amazing to see him rapidly turn things around. He quickly sized
things up and made time for each of the ~20 participants to speak with him and get to know him one-on-one. He
led with kindness, and his optimism and ebullience were contagious. He helped us see that we could all fit into this
new professional context. Through that intensive two-week experience, Martin became a lifelong role model and
mentor to me. He showed me that I could be myself and succeed in the business world, and that I could chart a
path in McKinsey that not only aligned to my values but helped me exercise those values for real-world impact. It
was no surprise that years later, Martin was appointed to lead the Firm's Global Learning agenda, given his
commitment to helping younger generations succeed, and his vision to use learning programs to teach consulting
skills while also deepening learners' understanding of and commitment to the Firm's guiding values.

A few years later, I followed my mentor in transferring from our large New York office to McKinsey's smaller and
younger office in New Jersey. Martin and I had a chance to work closely together to shape the culture and
performance of our small office. With the rest of the New Jersey partner team, we created recruiting processes,
connectivity and networking events, and mentoring practices that made our office famous throughout the global
Firm for its warm family-like support. Martin again was a role model to me, particularly as I observed him in our
personnel review processes. He advocated for younger colleagues, ensuring that everyone was given the chance to
succeed and was treated fairly. But he also was clear-headed when the kindest thing to do for a colleague was to
help them find a better fit in a career outside McKinsey.
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In early 2000, I returned from maternity leave, which is when many women colleagues struggle to maintain
trajectory in their careers after disrupting client relationships and program continuity. By contrast, I was lucky to
have Martin in my corner. He had the foresight to introduce me into his core client relationship before I left for my
maternity leave. In fact, he brought me to a critical planning meeting with a set of senior leaders who would
become my clients for 20+ years the week before I had my son. It was a risky and generous move on Martin's part.
He introduced me into the relationship that was most important to his continued career success right before I
disappeared, with only a vague notion of how and when I would transition back. But taking bets on people--
believing in them--helping them-is central to how he has always behaved as a leader and as a colleague. Martin
and I worked together on various projects and initiatives for this client on and off for 20 years. He was always a
collaborative and generous colleague.

As Martin and I worked together, he became a close personal friend, and over time, a close family friend. Both my
husband and my son (now 25) consider Martin a friend. We have enjoyed many meals together, and we look
forward to getting together with others of his friends at his New York apartment. On these occasions, Martin
gathers the most wonderfully eclectic group of friends together. Some date back from high school, college and law
school. Others are former colleagues and clients, some of whom he hasn't worked with in decades. Others are
people he has met from his travels around the world and stayed in touch with for years afterwards. Of all of
Martin's positive qualities, I think his commitment, energy and generosity to being a loyal and true friend is perhaps
his most distinctive character trait. He creates and maintains unusually diverse and long-lasting friendships, and he
brings people together who would otherwise never interact.

The most meaningful time with Martin for my family, however, was when he suggested that we travel together to
the Sochi Olympics in 2014 in Russia, when my son was 14. It would never have occurred to me to consider going
to an Olympics games, but Martin convinced me to make this " once in a lifetime" trip. I'm so glad he did. The
global experience of an Olympics games was made so much richer with Martin's insights and with his insistence on
finding true local food (even if we all agreed, we had too many beets!). I still remember the conversation that
Martin had with my son, in which he shared his "2x2 matrix" for categorizing the countries of the world--all of
which he has visited. Martin told my son that he looks for: a) how friendly people in a country are to strangers,
and b) how happy they seem together. My son was very inspired by seeing the world through Martin's eyes. The
trip ignited my son's interest in geopolitics and human rights law. He is now in his first year of law school, in part
inspired by Martin's enthusiasm for and insight about the world.

I hope that these stories have helped you to see the qualities that I have seen and experienced in Martin very
consistently over 28+ years: positivity, optimism, good will, good faith, friendship, commitment, follow-through,
loyalty, empathy, curiosity, independence of thought. And an abiding belief in the fundamental goodness of
humanity.

Thank you for your consideration.



Sincerely,




Catherine George

February 21 , 2025




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                                      REBECCA    GEORGE
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                                                                 26 th March, 2025


To,

The Honorable Robert S Ballou,
United State District Judge,
Western District of Virginia,
210 Franklin Road SW
Suite 206,
Roanake,
Virginia 240011- 2208


 Sir,

My name is Rebecca George. I am an Attorney, practicing in the Supreme Court of India. Of
recent, most of my work is Pro Bono, mainly complex social issues that need to be addressed
in our society, for eg (but not restricted to) migration and homelessness, environment,
rehabilitation of sex workers. I also run a Legal and Advocacy Initiative focusing
on Women's Empowerment and Entrepreneurship. I also work closely with an organization
that markets the goods of specially abled persons.

 I understand that Martin Elling is due for sentencing and I write this letter to you believing
that Martin continues to make this world a better place.

I have known Martin Elling for the last thirty five years. We first met when I was a young
nervous graduate student at Harvard Law School. Martin Elling helped me find my fe~t at
Law School , introduced me to different aspects of the American culture and made me
actively contribute to the Harvard International Law Society of which he was the President.

Our friendship has lasted over continents, family . commitments, cultures and busy schedules.
Martin Elling takes his relationships very seriously and treats his friends with integrity,
respect, understanding, generosity, empathy and love. This aspect of his personality actually
extends to everybody. An important way of to judge one's character is to observe him/ her
behaving when they think no one is watching. Martin treats everyone with same level of
integrity, generosity, respect, understanding and curiosity. I have travelled extensively with
him and always find his attitude remarkable. He shows drivers, waiters, vendors, doorman
with same respect, integrity and generosity, he shows his friends and clients. He is keen and
open to learn about other cultures and societies. Of recent, ever since he moved to Thailand I
found him actually very influenced by the Buddhist philosophy, although I wonder if Martin
Elling actually knows this himself.

 "He can walk with kings,
 Yet not lose his common touch"
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I have also observed Martin Elling to be non judgmental and has
"the ability to meet triumph and disaster and treat both imposters the same."

I know Martin Elling spends his money and time in Rotary in Thailand contributing to
uplifting activities in remote areas of Thailand. I have seen him mentoring many young
people. I also know that he has donated to many charities in the US.


With respect,



 REBECCA GEORGE
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TRACEY GRIFFIN




F e bru ary 1, 2025

Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, VA 24011-2208



D e ar Hon o rable Ro bert S. Ballou :

My name is Tracey R. Griffin, I am a former senior partner at McKinsey & Company. I am an
American citizen, but currently reside in Dubai, UAE. I am the CFO of a private fashion and
beauty luxury group based in Dubai that markets primarily in the GCC but also in the U.S.A,
France, and parts of Latin America. I have a family home in Montana and raised my children
with my husband in Maryland and Montana. I am currently a public board Director of ADT
and a former Director of the non-profits, Partnership for Healthier America and UNCF. Health
and education are two personal passions of mine. In the UAE, I am on the Advisory Board for
HCT, a UAE based university.

I am aware of Martin’s conviction and that he has pleaded guilty.

I have known Martin for over 20 years. He started as a colleague and over the years became
a good friend. I would characterize Martin as a connector, advocate and generous.

Connector. I first got to know Martin at McKinsey, sitting in a team room and hearing about his
personal quest to visit every country in the world. I was mesmerized about his stories but
found his profound belief that we are all richer the more we learn about others, as inspiring.
Since that first team room meeting, I have been fortunate to travel with him and see how he
connects people/cultures that are different from the US. We travelled together with another
colleague to Turkey, on the border of Syria, to see the excavation of one of the earliest
religious sites. He and I travelled together to Malaysia, my first time to a predominately Muslim
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country and learned about the rich history of the region and trade. He taught me a lot while
we travelled together. Since I have known Martin, he has had his annual holiday party. There
is always a fun theme e.g., Miracle on 31st Street or Roaring Twenties. The event is always
something my husband and I enjoy. What is so special is every year he brings people from all
the different chapters of his life, family, college, graduate school, McKinsey, etc. to celebrate
the holidays together - a connector. Many of these folks I only see this one time of the year,
but he brings us together in community to celebrate Christmas and we always look forward to
the next Christmas.

Advocate. Martin was an important senior partner advocating for women to be successful at
the firm. We had many a chat about me personally trying to balance being a mom and a
partner at the firm. He supported my (and others) part-time programs at the firm. He pulled
me into client situations to help me round out my program for election at McKinsey. These
workshops were important for my election to demonstrate I had a network beyond my core
clients. While I was out of the country he went to the Women’s March 2017 in Washington,
DC with my husband to make his voice be heard. Martin and I share a passion about
education/learning, and I saw how he invested his time and energy in rebuilding the Firm’s
learning programs to develop our people and bringing innovation to learning.

Generous. Martin has been a major donor to pollical and philanthropic areas that are
important to him. His generosity extends to his family and friends. He has supported and
encouraged the higher education of several of his family members. For one of his birthday
parties in Thailand, he encouraged us all to make personal contributions to important
charities in the city focused on children and education.

Honorable Ballou, I hope this provides a bit of insight into the Martin I have known over the
years. He is a special person who has a lot to contribute to those around him.

Sincerely,




Trace y Griff in




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                               Gretchen L Hachmeister, PhD




Honorable Robert S. Ballou                                       February 16, 2025
United States District Judge
Western District of Virginia
21 0 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208


Your Honor,

My name is Gretchen Hachmeister and I am a long-time friend of Mr. Martin Elling.

I am the Executive Director of a nonprofit association and public library in Connecticut. I
am also a member of Trinity Episcopal Church in Connecticut.

I have known Martin Elling since the fall of 1984, when we both studied abroad at the
University of Vienna, Austria. We met while leaving the German-language exam for foreign
students and soon discovered that we were both born in 1964 within a few miles of one
another in Pittsburgh, PA. Martin's family moved away while he was still very young.

We became close friends that year, celebrating Thanksgiving together, and traveling
throughout central Europe. We have stayed in touch in the subsequent 40 years and have
enjoyed many visits and some more travel. My children enjoyed Martin's visits to our home
as they grew up and loved interacting with him. His holiday party has always been a
beloved annual holiday tradition and an example of Martin's incredible generosity to his
family and friends.

I am aware that Martin has been convicted of criminal activity and has pled guilty. I can
attest that Martin is kind, generous, caring, and a true friend.

He has helped his family members financially; for example, he helped his nieces and
nephews with college expenses. Martin also has supported environmental causes, and he
has advised friends from other countries on educational opportunities in the United States.


Martin was extremely helpful to me during a most difficult period of my life. While my
mother was dying of colon cancer and I was caring for her in 1988, Martin telephoned me
daily to see how my mom was and how I was holding up. He made sure I laughed a little
each day.
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Just a couple of years later, Martin found himself in the same situation. I was able to help
him as he navigated the stark reality of his mother's cancer diagnosis and death.

Martin has always been the center of his extended family, bringing his brothers and their
families together for holidays. And he serves a similar function as the center of a large
group of friends, from various phases of his life - childhood, college, graduate school,
work, travel. Many of us have become friends because of Martin.

Martin Elling is a kind and caring man who has gone above and beyond for his family and
friends, and for which I will always be grateful.

With best regards,


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Gretchen Hachmeister, PhD
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   Honorable Robert S. Ballou
   United States District Judge
   Western District of Virginia
   210 Franklin Road, SW
   Suite 206
   Roanoke, Virginia 24011 -2208

   United States of America                                  09.02.2025




   Character-Statement of Martin Elling


   Dear Judge Ballou,



   My name is Tim Schulte Havermann and I am writing to you regarding the Case of Martin
   Elling.

   I was born in Hagen/ Westfalia in Germany and grew up with my parents and my two years
   younger brother in Recklinghausen in a catholic family. After finishing High School I did 15
   month of military service before studying and graduating from University of Mainz in 1995 with
   a degree in pharmacy. After working as a pharmacist for five years I cofounded a
   telecommunication solution provider and left the company after the IPO in 2006. Since then I
   develop and construct real-estates mostly in Berlin and the eastern parts of Germany. With
   my wife we are currently living in a small town in Black Forrest and Berlin.

  Due to possibility of remote working we also staying more often in our apartment in Bangkok
  / Thailand, where we reside approximately three months a year. In February 2020 , just
  before the worldwide COVID-lockdown started, we met Martin and other neighbours of our
  building for lunch. We enjoyed the time with him a lot, saw each other again several times
  before we had to go back to Germany mid March 2020 due to the pandemic. We stayed in
  contact but due to the travel-regulations we couldn't return to Bangkok before end of 2022
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   and we were happy to see Martin again and spent more time together and our relationship
   naturally evolved into a meaningful friendship.

   After our long absence in our vacation home a lot of smaller and bigger things had to be
   done and issues had to be solved, Martin helped us immediately to improve our
   condominium, supported us with his experience and great language skills and found
   solutions so we could enjoy Bangkok again. The more we would see us , the more we also
   visited sights together and went on trips and excursions to museums, temples or charity
   events with Rotary, where Martin is a well regarded member in the their Bangkok chapter for
   his ethical standards, generosity and his sense for justice and equality. On our trips we
   experience a lot of injustices and exclusions based on origin and education here in Thailand,
   which I am not even aware of because most parts of society including myself accept it as
   given, but Martin nevertheless names those grievances, enters into discussion and
   opposition and , even though he knows those prejudices cannot easily eliminated, he tries to
   point these out and sensitise his environment at least. Martin's ease is also impressive with
   which he approaches people on the fringe of society. He like to talk to those people, unseen
   by most of us, doing the work our society depends on.

   Martin's deep respect for Thai culture and his love for his friends, both Thai and Western, are
   evident in the way he brings people together on many significant Thai holidays. By doing so,
   he not only strengthens friendships but also introduces others to Thai traditions, respectfully
   honoring the country's cultural heritage. Thanks to Martin's remarkable ability to connect
   people, we have had the privilege of meeting numerous wonderful individuals, including many
   locals we previously had little access to. These connections have developed into close
   friendships, allowing us to gain valuable insights into Thai life and customs. This experience
   has significantly enriched our lives, making Bangkok a second home for us through Martin.

   Martin is one of those rare individuals who treats everyone with the same respect and
   openness, regardless of their background, level of education , ethnicity, profession, or social
   status. His circle of friends includes well-known figures from Thai society, former classmates
   from Harvard, young art students from the region to language teachers, taxi drivers and staff
   members of our building. He evaluates people without prejudice, recognizing and
   appreciating their true character.

   In the relatively short time we have known him, we have had the opportunity to meet friends
   and acquaintances from nearly all stages of his life, including former classmates, colleagues,
   and even previous employers - relationships he has nurtured for decades, no matter how
   many miles or continents separate them. In today's fast-paced world, this commitment to
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       maintaining genuine relationships is a rare and invaluable quality that demands significant time
       and effort, as we know from our own experiences.

   Martin has approached us with openness, honesty, and transparency regarding his
   misconduct and guilty plea, which has only further highlighted the strength of his character
   and the trust he places in our friendship . I hope this letter helps you understand Martin as a
   person. With a strong moral compass, he has grappled deeply with the situation , which has
   weighed heavily on him mentally and emotionally. His primary focus has always been to
   resolve the matter responsibly and respectfully, without avoiding accountability,
   demonstrating his unwavering commitment to doing the right thing.

   Sincerely




   /            ~~
        ,t1/ .,,,
       Tim Schulte Havermann
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From: Nina Hans
To: Honorable Judge Robert S. Ballou
U.S. District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208

                                                                       Salzburg, January 28th, 2025

Topic: A Letter on Behalf of Martin Elling

Dear honorable Judge Ballou,

I am writing to you regarding the sentencing of my godfather, Martin, wo pled guilty in Federal
Court in Virginia to one felony count of obstruction of justice related to his deletion of electronic
documents in a federal investigation.

I want to give you a short introduction to myself and how I got to know Martin. My name is Nina
Hans, I was born in Austria in the year of 1992. I studied law and currently hold the position
Head of Human Resources and Legal at a museum in Salzburg. I am married to my long-term
partner, Klemens and we have a three-year-old daughter.

My father, Volker met Martin during their studies at Harvard. Martin, who also has Austrian
roots, was my dad’s “buddy” when my father received a scholarship for his LLM studies. Both
stayed in touch ever since, for more than 35 years now. Thanks to their friendship, I was
fortunate enough to have Martin as my godfather, mentor and friend. During my childhood, our
contact was mainly limited to birthdays, Christmas and occasional visits, however, as I grew
older and was able to keep in touch myself, our relationship became much closer.

Even though living in different countries – Austria and United States, Thailand – we have always
stayed in close contact. Over the years, we made it a priority to see each other regularly,
whether in person or through long conversations. Martin has always been there for me, offering
and providing guidance, support and advice – always with my best interests at heart.

To me, Martin is more than family. He is a mentor, role model and he has always been a guiding
figure, providing moral support, wisdom and practical advice no matter, if on a personal or
professional level. His influence has been crucial in shaping my values, discipline and sense of
responsibility. He has always encouraged me to do the right thing, to stay grounded and to take
responsibility for my actions. His influence has been a major part of my upbringing and I can
honestly say that without him, I would not be the same person today.

I remember during one of my trips to New York City in 2014, for the National Model United
Nations (NMUN) New York Conference, Martin was there to support me. Thanks to his
unwavering support, encouragement and belief in me, I was able to perform at my best. He was



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there not only as a source of motivation but also as someone who gave me the confidence to
push forward and make the most out of this incredible opportunity. Knowing his support made
a significant difference and I am grateful for his presence during this important experience. My
team and I then won the award for an outstanding delegation.

Throughout my young and relatively short professional life, Martin has been a constant source
of support. he has guided me through every major career decision, including job changes and
even transitions between industries, offering invaluable advice and perspective. His insights,
drawn from his experiences and judgement have helped me navigate challenges with
confidence. I deeply appreciate and feel incredibly fortunate to have his wisdom and guidance,
knowing that I can always turn to him for honest advice and unwavering support.

Beyond Martin’s role in my personal life, Martin has also been the anchor of a close-knit group
of friends. He is a highly sociable person who has the rare ability to bring people together and
foster lasting connections. Thanks to his decisive role, this group of friends remains tightly
connected with regular gatherings that he initiates and ensures to take place. His presence is
the glue that holds everyone together, creating a strong network of like-minded, highly engaged
individuals who continue to support and inspire each other. A testament to his selfless nature is
how he approaches his own celebrations. Whenever friends come together for Martin’s
birthdays, he always insists on no gifts. Instead, he encourages everyone to make donations to
nonprofit organizations that support those less fortunate than us. This thoughtful gesture
reflects his belief in generosity, social responsibility and making a meaningful impact in the
world.

I admire Martins values like fairness, inclusion and the belief that education is the key to a
better future. Therefore, Martin supports the initiative START in Austria, which is a foundation
that helps high school students with migrant backgrounds to integrate and excel in school.
Martin supports them because he thinks only if these disadvantaged people do well, there will
be peace and development in society. Through his support and commitment, Martin is not only
giving them opportunities but also fostering a more harmonious and progressive society. His
support demonstrates his dedication to social cohesion and equal opportunities reflects his
deep conviction that everyone, regardless of their background deserves a fair chance to thrive.

I understand that what Martin has done is serious but I am proud to have him as my godfather
and I will continue to have him in my life. I appreciate your time in reading this letter and
considering my words.

Sincerely,


Nina Hans




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                                   Judith Hazlewood




Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke,
Virginia 24011-2208




                                                                          February 19, 2025

Dear Judge Ballou,

I have known Martin Elling for about 25 years. I am aware that he has been convicted of a
crime and am writing this letter as a character reference to be considered in his sentencing
hearing.

I trained and practiced as a medical doctor in the United Kingdom and switched career to
join McKinsey & Company in London in 1988. I transferred to McKinsey's New Jersey Office
in 1999 to pursue work in healthcare. I have now retired as a Senior Partner of McKinsey
after a 33-year career with the Firm.

During my time with McKinsey, I was appointed and/or elected to a range of senior
leadership positions. Over the years I have led McKinsey's Mid-Atlantic Office (New Jersey,
Philadelphia, Washington DC), and both its Organization, and Global Public Health
Practices worldwide. I was elected to McKinsey's Board of Directors (known as the
Shareholder's Council) and was a longstanding member of the Professional Standards
Committee - the body that investigates and adjudicates professional misconduct among
Partners. In my final chapter in the Firm, I served as McKinsey's Chief People Officer
responsible for overseeing all aspects of talent development and human resources
worldwide.

Now that I have retired from McKinsey I support several non-profit organizations as a
member of the Board of Directors, or as an Advisory Board member. In these roles I am
proud to be able to serve an organization that provides health services in sub-Saharan

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Africa; a newly founded non-profit providing leadership training for individuals who wish to
devote their career to public service in the US; an organization central to managing water
quality from the Passaic River in New Jersey; and a visiting nurse and hospice provider also
in New Jersey. I am also engaged on an as needed basis by McKinsey & Company as a
confidential coach to some of its Partners and Senior Partners.

I met Martin in 1999 when I moved to New Jersey. He was one of the people who was
immediately welcoming to a newcomer to the New Jersey Office, and was an important
part of helping me get settled into a new place.

I have always admired Martin's optimism and commitment to improvement for future
generations. In 2015 he was selected to help define a talent strategy for McKinsey to
address the evolving needs of the consulting market and the changing expectations young
people had about their careers. He was chosen because of his commitment to mentoring
the next generation of McKinsey colleagues and his dedication to learning and personal
development. Martin threw heart and soul into that project and the vision he helped to
create was inspiring and inclusive, radical while also being practical. It created a vision of
the future of the McKinsey Partnership that provided a North Star for me as the Firm's Chief
People Officer for the following five or more years.

In my role as Chief People Officer, the then Global Managing Partner of McKinsey and I
together appointed Martin as the head of Learning for the Firm. In making this appointment
we recognized Martin as someone who was invested in the development of younger,
upcoming colleagues and someone who would use the role to improve the development of
the Firm's people without consideration of his own position. And indeed, he transformed
McKinsey's learning approaches and infrastructures in ways that really benefited
colleagues globally. At one point he stuck his neck out to defend investment in learning
infrastructure in Asia (this was before he moved to Thailand) when the CFO wanted to
reverse a decision previously made. Martin was a passionate advocate for colleagues in
Asia and the need to prioritize their development as much as colleagues in Europe and the
US. He was eventually successful in persuading the CFO to honor the commitment made
to these colleagues, but it was not an easy debate, and Martin showed courage and a
willingness to expend his own political capital for the sake of what he (and I) believed was
the right thing to do for the sake of these colleagues.

Beyond his commitment to developing more junior colleagues broadly, one of the many
admirable qualities that Martin shows is his commitment to helping and supporting
individuals. This applies to people in his wide circle of personal friends, to family
members, and to individuals in a professional context. I will try and illustrate this with a few
examples, mainly from the professional sphere.

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As the head of our mid-Atlantic Office, I was always concerned about how to ensure that
our junior colleagues were getting sufficient support in the form of mentorship and
coaching. In the McKinsey system this is the responsibility of the Partners in the Office, but
these Partners are busy people with competing demands on their time, and often it is the
support of these young people that falls by the wayside. Martin always stood out to me as
someone I could rely on to really care for, give time to, and provide wise counsel to these
less experienced colleagues.

One specific example stands out among many instances. This was the case of a colleague
who had come back from maternity leave after her first child . This is of course a difficult
time for women in the workplace everywhere, but particularly at McKinsey where
professional success relies on a network of supporters and client relationships which often
decay when someone is absent from the workplace for a time. This woman (who did not
previously know Martin) returned to find that while she was out on maternity leave her
McKinsey sponsors had all 'moved on' and were focused on supporting other people.
Although she was talented and a potential asset to McKinsey, she was beginning to get the
message that she had no future in the Firm and should be looking for outside opportunities.
We assigned Martin to be her main contact, and he spent hours helping her see how she
could reinvent her professional platform and reignite her passion for consulting. She is
currently a successful Partner at McKinsey and went out of her way to give me feedback on
how that intervention by Martin was a turning point in her career and how she holds it up as
the standard she aspires to as a Partner herself helping her junior colleagues.

More generally, a theme that often came up in our reviews of junior colleagues was the
issue of young women lacking 'presence' (a nebulous concept tied to being able to stand
out and be listened to in a male dominated environment). This lack of presence held many
of your young women back in their evaluation and career development as it raised
questions among the Partners about these women's ability to command respect from
clients and senior colleagues.

Martin took it on himself to help a number of these women to stand out more clearly by
helping them present their arguments more forcefully and encouraging them to ditch the
corporate uniform of black or navy suits/jackets and wear bright colors . This rather
unconventional approach may sound trivial, but it was in fact a rather profound and
successful intervention which helped many of our women become more noticed and
memorable in a professional setting.

Equally, as networking is critically important to success in McKinsey, Martin has always
gone out of his way to create opportunities for more junior colleagues to get to know more
senior colleagues and potential mentors by creating informal settings that support them

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building their own network. His annual holiday gathering is just one example of the settings
in which he helps make connections within his circle.

And on a purely personal basis, I am very thankful to Martin for supporting me as I grew in
seniority and stature in the Firm. I am not naturally outgoing, and in my positions was often
expected to be very present (often on stage) at events that, while professionally important,
were for me personally daunting. I can think of many instances where Martin quietly
encouraged me, stuck by my side to be supportive, or managed to create smaller group
settings in which I was more natural and comfortable.

***
I hope this letter gives you some feel for at least some of the aspects of Martin's character
that I find admirable. In my own experience Martin is a generous, thoughtful and supportive
individual. He consistently puts others ahead of himself and I consider it a privilege to have
had him as a colleague and to count him as a friend.



                                      Yours sincerely,




                                     Judith Hazlewood




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February 17, 2025

The Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW Suite 206
Roanoke, Virginia 24011-2208


Dear Judge Ballou,

Martin Elling has been one of my closest friends for more than 30 years. He has also been one of the
most important and influential people in my life both personally and professionally. I am aware that
he has pled guilty in a federal court, and I submit this letter as a testament to his character.

Now retired, I had a career in marketing and as a former entrepreneur while living abroad. I’ve been
fortunate to have traveled widely for work and leisure, experienced different cultures, and achieved a
few of my dreams, including returning to school at age 50 to earn my M.A. Throughout all these
experiences, Martin has been a constant and supportive friend. He’s been colleague, friend, travel
companion, coach, consoler, cheerleader, advisor, and confidante.

I met Martin in approximately 1993 while working in New York City. We were both young and in
the early stages of our respective careers. The firm I worked for had engaged McKinsey & Co. to
consult on a firm-wide, global initiative. It was one of Martin’s first client engagement projects with
McKinsey and I was selected from the client-side to work alongside Martin. There were many long
nights and weekends. I was inexperienced in analytics and Martin frequently assigned me the lesser-
interesting tasks. Observing my frustration, Martin took me under his wing. He generously and
patiently spent extra time to teach me an entirely new set of skills while also ensuring the project was
managed accurately and on time. In my experience working with Martin, he always demonstrated
professionalism and integrity. The project took approximately two years, and we became friends in
addition to colleagues. During this time, he also became a sounding board and mentor, and I credit
Martin with positively changing the trajectory of my career and life.

Martin is a natural leader. Helping people and a desire to make the world a better place are hallmarks
of his nature. Martin celebrated New York City’s diverse, multi-cultural population and has been
involved in numerous community initiatives. He is a supporter of numerous non-profit organizations
and places an emphasis on initiatives that focus on the betterment of people’s lives. City Harvest, a
food rescue organization in New York City, and the Central Park Conservancy are just two
organizations that come to mind. For multiple years when he was living in the city, Martin mobilized
friends and colleagues — me included — to join him at these fundraisers to raise awareness and
increase participation. However, his philanthropic involvement is not limited to these organizations.
Most recently, Martin has been sharing with me how much he is enjoying his involvement with the
local Rotary club in Bangkok. He is energized by the enthusiasm of the other members and the
positive impact of the group’s initiatives.

I believe Martin’s greatest quality is his faith in humanity. Empathetic and kind, he believes the best
in people. Anecdotally, several years ago I bought a necklace at a small shop and the salesgirl
misread the price and undercharged me. As I debated returning to the store to pay the difference,
Martin expressed his disdain that someone (especially me) would wittingly choose not to do the right
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thing. I remember his saying that while I was asking his opinion, he knew that I already knew what
the right answer was – of course, to pay the difference.

Martin’s belief in humanity is inextricably linked to his perspective on relationships. He has a deep
gratitude, love and appreciation for the relationships in his life. Martin has made and kept friends
from every facet of life, creating a wide, international community of friends. I am regularly awed by
his capacity to be a part of so many friends’ lives, participating in their milestone events, providing
advice and guidance on a range of topics and remembering important details. For all the years I’ve
known Martin, he savors spending time with and bringing together his global circle of friends.

Martin has always been a loyal, supportive and dependable friend. He was often my first call for a
family medical scare or a pressing business situation. Over the last 30 years, there were quite a few
of these calls. If Martin was unavailable, the call would route to his assistant, and if I expressed the
call was urgent — which Martin knew I would never do unless it were, he would invariably leave the
meeting, sometimes a client meeting, to speak with me. And if he could not immediately take the call
(for example, he was on a plane), he’d call as soon as it was possible. My experience is that Martin
has consistently been a stalwart friend.

Martin is also a devoted godfather, taking the responsibility seriously in action as well as title. I’ve
observed from both close and afar his care of and involvement with two of his godchildren. When
his godson was going through a challenging, somewhat rebellious phase, Martin stepped in to
provide the balanced perspective. His goddaughter had somewhat of a difficult childhood and Martin
was an ear and a pillar throughout her life. I believe his positive influence contributed to her finding
happiness in adulthood and more recently becoming a wife and mother.

My personal experiences with Martin are also closely tied to family — both his and my own.
Having met Martin’s parents numerous times, I know Martin to be an attentive son who relished a
close relationship with his father (who, in turn, was so proud of Martin) and Martin continues to
maintain a close bond with his stepmother. Following the death of his father, he is the primary
connection now between his stepmother and his remaining family. As she continues to age, Martin
regularly checks in, patiently listens to her challenges and helps with various solutions. I know he
has provided emotional and financial support to his stepmother, sisters-in-law (one widowed), and
nieces and nephews through deaths and difficult times as well as celebratory occasions.

I am proud to be counted among Martin’s friends and believe I am a better person for knowing him.

Sincerely,


Tyrel Holston
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To:
Honorable Robert S. Ballou                                                                       14 February 2025
United States District Judge
Western District of Virginia
21 0 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208

From:
Hermes Taikan Huang

        I am writing this letter on behalf of Martin Elling who I understand has pleaded guilty in Federal Court in
Virginia to one felony count of obstruction of justice related to his deletion of electronic documents in a federal
investigation. I am writing this letter having knowledge of the investigation into McKinsey over the past few
years, and with significant thought and discussion with friends and colleagues with a systemic view and
approach to the system of actors and actions that have led to this moment.

        My name is Hermes Taikan Huang. I am an American citizen from California who has been based in
Thailand and Nepal over the last 12 years. I was a Princeton in Asia Fellow (Thailand, Nepal) and a Rotary
Global Grant Scholar (MA, International Development Studies, Chulalongkorn University); two programs that
deeply promote cultural exchange, understanding, and peace between the United States and Asia (and the
world). I am now an international development professional and head of a small consulting agency based in
Bangkok, Thailand with a team of 9 people working with United Nations teams around the world. I regularly
provide advisory services pro bona to small local non-profits and social enterprises. As a professional working
in the social impact sector, and as a longtime foreign resident of Thailand, I expect the people I hold close to
me to strive for empathy, to be holistic in their view of the world, and to be open to the nuances of intercultural
interactions.

         Martin Elling is a person who has demonstrated to me over our 7 year friendship that he has a deep
and nuanced respect for Thailand's cultures, language, people, and society, and every culture that he
encounters as well. As someone who finds himself constantly having to explain to foreigners in Thailand and
Asia at large that they should not be projecting their own cultural biases onto the local community, especially as
a visitor, I find myself learning from Martin on how I can better interact and engage with the communities
around me.

        Martin and I joined the Rotary Club of Bangkok around the same time in 2018. From this initial meeting
and aligned shared values of community service and social impact, I was able to learn more about Martin over
regular opportunities to hang out as friends, and participate in community service activities as part of the
Rotary Club of Bangkok.

        My first impressions of Martin through our meeting in the Rotary Club was his advocacy for the
empowerment of the next generation of leaders in community service. He often spoke with both kindness and
understanding to the older members of the club and their perspectives, while also firmly putting his voice and
power in the club to advocate for changes in the system that would allow for more listening and leadership and
recruitment of younger members. At the time, I was the youngest member of the club.

        This fierce advocacy for empowering the next generation of leaders in community service, I would later
learn through our time together, was also present in many other parts of his life. I am a small business owner
trying to change the way that large bureaucracies listen to and collaborate with frontline workers, middle
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managers, and customers/stakeholders/beneficiaries, and I have always been skeptical of organizations like
McKinsey. Hearing the way that Martin approached leadership, decision-making, and collaboration across his
career gave me hope that leaders in the private sector could actually encompass qualities of compassion,
empathy, and kindness, in balance with business priorities as well.

        Throughout our interactions, I would also come to learn that Martin has such a deep appreciation and
empathy for the cultures that he moves in. This is especially true in Thailand where he lives where I have seen
him take the time to deeply understand Thailand through language through slow methodical exploration and
walking around neighborhoods and provinces in Thailand. He is not shy about speaking with people in a way
that offers curiosity, appreciation, and respect to people from all walks of life in Thailand. And this is a rare
quality amongst foreigners who live here to me. It says a lot about who he is as a person. And it is by joining
him on these curious explorations that I have also learned to be more empathetic and open in my life as well.

         This curiosity that Martin brings with him to the world extends also specifically to arts and cultures,
development and support. I have met a number of artists through Martin over the years and many of these
artists are up and coming people who would massively benefit from the connections and appreciation that
Martin's friends and networks bring to the table. I see this as an extension of his personality that I first met
when we joined the Rotary to support the next generation. And in my experience as a young adult, this is a
rare quality in many older folks especially when that support comes with a genuine authenticity and desire to lift
up.

         My Hope is that this letter sounds intentional and authentic and well-rounded in its description of Martin.
I will conclude by simply saying that I know Martin will continue to lift up people in the next generation of young
people throughout his lifetime. In a world that feels so divided at the moment, we need more people like Martin
to be open, curious, and supportive of those who will lead in the coming years and decades.




~
Hermes Huang
14 February 2025
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                                                February 18, 2025


The Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208


Dear Judge Ballou:

I write in support of and to provide a character reference for Mr. Martin Elling for his sentencing hearing
in your court on April 4, 2025. I am currently a Professor of Law. I have been law teaching since 2005
after practicing law for ten years in private practice and in-house.

I have known Martin since 1989 when we both matriculated at Harvard Law School. I would not say we
were close friends during law school, but I did enjoy his company and acquaintance. We became close
after law school when we were both selected for the Robert Bosch Fellowship in Germany for the 1992-
93 fiscal year. and we have been close friends ever since, often speaking on the phone and often visiting
each other.

Throughout the years, I have learned that Martin is extremely loyal to his family and friends and takes
seriously his obligations to improve and benefit the world. He lost his mother as a teenager but has never
let that tragedy define him. He maintained an extremely close relationship with his father and provided
him assistance, especially when his health was waning in the later years before he passed away. He
regularly communicates and visits with his relatives, including his brothers' families in different parts of
the U.S. One of his brothers died an early death, and Martin has taken it upon himself to look out for the
family members left behind.

Martin is one of the most generous people I know. He is generous with his time and money, always
offering financial and other support to needy family members. He has long been involved in charitable
efforts as a board member of The Nature Conservancy (an environmental organization), but also with
other organizations, such as Habitat, New York Cares, and ACLU. In Thailand, where he now lives and
spends his retirement, he has participated in diverse educational initiatives with the Rotary Cub, the
Mercy Centre, and Children of the Forest. He has prnvided countless donations to many more
organizations.
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The Honorable Robert S. Ballou
February 18, 2025
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I would like to relay two vignettes out of the many that showcase his integrity. Many years back, he
purchased a table at the annual fundraiser for The Nature Conservancy, and I was happy to participate.
We had a lovely dinner at a beautiful venue in New York, and we learned about the Conservancy's various
initiatives. The program displayed photos of its leadership, and we all noticed that there were few or no
women in the leadership of The Nature Conservancy. Martin was genuinely disturbed by the lack of
female representation in the senior leadership and committed to raising this issue with the board. The fact
that he volunteered to do something about the dearth ofwomen in the leadership made quite an impression
onme.

A second story comes from his 60th birthday party in Bangkok, Thailand. He invited his many friends to
come join and celebrate his birthday. In materials he printed out for all party participants, he wrote that
he would not accept gifts but that he would be grateful ifwe donated to one ofthe Thai children's charities
that he actively supported. He provided detailed descriptions of the work that the Mercy Centre and
Children of the Forest, among others, do, so that it would be easy for us to choose which we would
support. The fact that he declined presents and asked us to donate to one ofhis favorite children's charities
demonstrates his strong and longstanding sense ofobligation to benefit others who are struggling to meet
basic needs.

I hope that my letter sheds some light on Martin's general character. Thank you for your consideration.


                                             Very truly yours,      J./ ,
                                            Ju:3 fnC:, ~
                                              Sung Hui Kim
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March 4, 2025                                                                 MAR 13 2025
From
Margaret Knudson

To
The Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke,VA.24011-2208

Dear Judge Ballou:

I am writing this letter to share with you what I know about my friend Martin Elling, who I
understand has pleaded guilty to one count of obstruction of justice related to his deletion of
electronic documents during a federal investigation.

I met Martin 38 years ago, in 1987, when we were both research interns in the German Parliament,
in Bonn. Back then he was a graduate· student and I h.ad just finished graduate studies. We
became good friends immediately, as we·Were~~and 1?till are~-al)ke in ma'ny Ways·: We share a
passion for the study ot"international rela.tions ~ncf h·o~'the glo~al community·migh't work together
to make the world a better place; ari Ul)derstan,ding ot" a_nd affinity for German language'and
culture; and a deep love oftrave°(.even\vtien it puts us'outside of our°comfort zone. Our summer
in Bonn was fun-filled and memorable, replete with weekend trips, adventure, discovery, laughter,
and growth.

Martin and I have remained in close contact for the following (nearly) four decades, and this has
only served to deepen our friendship, despite the fact that we live in different cities and work in
different sectors. Whereas Martin pursued a consulting careerthat would make good use of his ,
very sharp mind and problem-solving acumen, I have dedicated my life to nonprofit work and my
family. For nearly 30 years I !Jave been a development professional, raising funds for 501 (c)(3)
organizations that seek to address pressing challenges like climate change, global health,
women's equality, the threat of weapons of mass destruction, international peace and security,
and conservation. Throughout my career, I have benefitted greatly from Martin's advice and
guidance, ranging from how to solve conflict in the workplace to how to manage large teams.

 Regarding family, Martin t:ias provided moral support and advice throughout my motherhood
 journey, giving me courage and perspective during difficult times, laughing with tne during absurd
 times, and encouraging me to find that ideal, often elusive path between over-parenting my kids
·an·d fostering their independence. Although they don't know it, my children (now adults) have
 benefited greatly from his advice to me.
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Another aspect Martin and I share is a firm belief that most people are basically good at heart an d,
given half a chance and an even playing field, can become contributing members of an ever-
improving society. He and I have spent countless hours discussing inequality, racism, poverty,
sexism, and how to make that arc of the moral universe bend a little more quickly toward j ustice.

Martin puts his money where his mouth is. He has made donations to nonprofits with missions he
believed in, like the Nature Conserva ncy of New Jersey, where he donated to help improve their
good work that protects land and water that support life on Earth, or the Rotary Club in his current
home, Bangkok, which provides community service, promotes integrity, advances world
understanding, and promotes goodwill and peace. I know he has given to many other nonprofits,
schools, and charit able organizations, but he is not one to brag about this or insist that his name
be atta ched to his gift. His joy comes not from recognition, but rather from helping others.

fn this and many other, similar ways, Martin made me feel as though he and I were on the same
team, one that worked to build a better life for our com munities. And Martin's community is
global. I have met dozens of his friends from many countries, and to a person they are hard-
working, justice-minded people who share his belief that it is up to us to continually work to
improve humanity. This is one reason why his good friends have become my good friends over the
years.

Finally, Martin is devoted to his own family. He has helped his nieces and nephews purchase
homes for their families. He plans Zoom calls and in-person family gatherings, including by
sharing menus and party plans with his brother. He is devot ed to his stepmother (his own mother
died of cancer when he was a young man, and his father passed away about a decade ago) and
visits her every year when he is home from Thailand.

Martin and I are gre at museum goers; in recent visits he has expressed joy whenever he found a
museum that might be a good recipient of some of the art he has collected over the years, or a
nonprofit that could benefit from receiving his extensive coi n or sta mp collections. He is about
spreading the joy and not about benefitting financially from the many hours he spent acquiring
and organizing his collections.

fn short, Martin has lived a life of service and philanthropy in the nonprofit arena, and he has
spread joy and fostered a tightly knit, good-hearted community in his personal sphere. I feel very
lucky to be his friend. I have known no other person that has spread his good fortune so selflessly,
and I have been in the fundraising business a long time.

Thank you for considering my lett er about Martin's character and life.
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Ana Raquel Carvalho Malheiro


To
Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208
U.S.A.


Brussels, 18 March 2025



Dear Judge Ballou,

Re: Letter on Behalf of Mr Martin Elling



With this letter, I would like to describe my personal relationship with Mr Martin Elling, whom I
have known since 2001 through my husband, Caspar Ebrecht. Martin became a very dear
friend.

I am writing this letter in the knowledge that Mr Elling has been convicted of criminal conduct.

My name is Ana Malheiro. I am a Portuguese national, married to Caspar Ebrecht and mother of
three children. I live in Brussels, where I work as Deputy Head of Unit at a European Union
public institution.

I first met Martin in 2001 in Munich, at the house of my (then future) parents-in-law. Martin was
introduced to me by my parents-in-law as "a member of the family", and by my husband as an
"older brother". My husband has known Martin since 1988, when Martin came to Munich as a
scholar with the Fulbright Program.

I met Martin several times in Munich at my parents-in-law house, often for Christmas.
Christmas was in every aspect a very special celebration at my parents-in-law's home. We
would follow religiously all the traditions of the Ebrecht family. When Martin was around, some
exceptions would be accepted. I recall one Christmas when Martin decided to contribute to the
festive decorations with pomanders (not part of the usual Christmas tradition), leaving the living
room with a pleasant scent of clove clove-studded oranges. I remember Martin being very
excited about it, while my mother-in-law was not particularly amused. The pomanders were
nonetheless tolerated.

Christmas and family gatherings with Martin in Munich were always very special to me. He
would engage in deep conversations about history and politics with my father-in-law, always in
German . We would also go out for dinner and to the city centre to visit the Christmas market, at
the Marienplatz. Having Martin around at these gatherings was always very special. Martin
always brought a fresh perspective to things . He always showed a deep interest in each of us.
And that was a constant throughout the now more than 20 years since I have known Martin.
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Des pite the di sta nc e, Martin has alwa ys bee n there in the many important moments of our
family.

He was there in 2005, wh en Caspar and I got married in Portugal. Martin was our best man.

He was there in 2008, when my father-in-law passed away. And also, three years later when my
mother-in-law passed awa y. I was very moved when Martin took the time to write a letter to my
husband and his two sisters, describing the fond memories he had of my moth er-in -law.

When our three kids were born , Martin always reach ed out and kindly sent thou ghtful presents
for the babies. He would also often call us to he ar how we were doing. Now and then we would
meet when his travels took him to Europe . Often, Martin would take the time and change his
schedule just to be able to visit us in Bruss els.

We celebrated his 50t h anniversa ry together. I have vivid memories of the warm and heartfelt
speeches and songs dedicated to Martin by hi s fri ends.

We were in close cont act during Covid tim es.

We celebrated his 60th anniversary togeth er.

Martin is a very important person in our family. He also became a reference person to our kids.
We recently visited Martin in Bangkok. Before we embarked to Thailand , one of our daughters
was diagnosed with a serious disease. Martin fully supported us and took the tim e to make sure
we would get the best support in Thailand, if nec essa ry.

During our stay in Th ailand , Martin took th e tim e to show us "his" city, walking the kids through
th e historical details in a very exciting and entertaining way. Martin also introduced us to his
many friends . He told us about Thai people and th eir culture in an admiring and res pectful way.
He encouraged us to support several non -profit organisations, with a particular focus on
organisations th at work on giving opportunities to youn g people. During our sta y in Thailand , we
had the chance to know better Martin's language te ac her. From a Europ ea n perspective, his
language teacher had a hardworkin g life, spending much of it away from hi s family. I was very
moved by the respectful way Martin would refer to him, as an admirable and hard-working
person, des ervin g every opportunity that he w as given.

I perceive Martin as a very loyal friend. I met many of hi s friends at the occas ion of Martin's 50°'
anniversa ry. Many of hi s friends (m any of whi ch date back to Martin 's co llege tim e) have now
also beco me my fri end s. Hi s fri end s are also very diverse, not only because they co me from
different cultural backgrounds and nation aliti es, but also soc io -eco nomi ca lly and person ality-
wise. I always rega rd ed thi s diversity as an express ion of Martin 's very hum ani st ic vi sion and
worldview.

Th ere are many things that I ad mire in Martin - hi s curiosity about th e world, hi s ge nuin e interest
in peo ple, his ge nero us hea rt , hi s incredible knowledge abo ut th e world and hi s unwaverin g
optimism .

Th ank you for read ing my lette r abo ut Martin .
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Eric Martin                                                    Honorable Robert S. Ballou

                                                               United States District Judge
                                                               Western District of Virginia

                                                               210 Franklin Road, SW
                                                               Suite 206
                                                               Roanoke, Virginia 24011-2208


Date: 02/16/2025


Subject: Mr. Martin Elling




Your Honor,


It was while living in my native Paris in 2007 that I met Martin Elling. I am indeed a French citizen
who has been living in the USA since 2018. I left France to follow my American wife, who, after
living in France for more than twenty years, wanted to return to her native country to be closer to
her aging mother. Since then, Martin and I have spent many a visit to Paris or New York or more
distant locales in each other’s company.
If I write today, it is to describe two qualities of Martin, which have never failed him since I have
known him, which do him honor and for which I believe he deserves credit. I am aware that Martin
Elling has been charged with a crime in court. I am also aware that he pleaded guilty. And this is the
first of the qualities I would like to highlight: his intellectual honesty.
If intellectual honesty is characterized, among other things, by being able to recognize one's
mistakes, it has long been obvious that Martin has this capacity. But intellectual honesty also
requires taking all the facts into account and not overlooking inconvenient facts. It requires
listening to others with attention and respect. I have had the opportunity to see Martin put all this
into practice on many occasions when we were debating historical, societal, philosophical or
political subjects as varied as the reach of Martin's intellectual curiosity. From the European
construction and its risks and benefits for European countries or the USA, to gender equality in
France and the USA, the list is long. Each time, I appreciated the rigor of his reasoning, his ability
to listen and consider information that he was unaware, even if it meant modifying his opinions,
and always with respect and kindness towards others.
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And this is the second of his qualities that I wanted to mention: Martin is a truly altruistic and
generous person. I have seen him open his home to friends and family (and friends’ family) for
weeks or even months at a time. He has spent hundreds of hours of his time supporting charitable
causes, like serving on the board of Nature Conservancy. He thinks of others and bears the cost
when friends are in distress - paying for emergency transportation for an ill friend in the Caribbean,
arranging medical care for a friend on vacation, picking up the bill for meals particularly when
friends with modest means are invited, organizing a memorable concert or Broadway show (and,
again, helping friends of modest means attend); and by those shared experiences encouraging his
friends to form their own connections.
At a time when rational, respectful and benevolent discourse is fading, I prefer people like Martin,
who sometimes make mistakes, but always acknowledge them, to those who often make mistakes
and never admit them.




Eric Martin
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       Case 1:24-cr-00045-RSB-PMS        Document 40-1      Filed 05/15/25   Page 86 of 129
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 Honourable Robert S. Ballou
 United States District Judge
 Western District of Virginia
 210 Franklin Road, SW
 Suite 206
 Roanoake, Virginia 24011-2208


 Dear Judge Ballou,

 I am writing this letter to provide a character reference for Mr Martin Elling who I understand
 has been convicted of criminal conduct.

I have had the pleasure of knowing Mr Elling for over 40 years in a personal capacity. We
metat the University of Vienna in the fall of 1984. I was an exchange student from the UK
and he was on exchange from the US. During the school year that we spent together Mr
Elling became a good friend. I was privileged also to meet his parents. After returning to
our respective countries and schools we stayed in touch. I retired last spring after a career
in the banking industry spanning over 35 years.

 Despite living in different countries, Mr Elling and I have remained good friends. What sets
 him apart is the consistent effort he expends to maintain meaningful connections with
those around him - emailing and phoning to stay in touch across continents and time
zones. He works to ensure that his friends and family feel valued and supported. He has
proved himself to be caring, honest and incredibly generous. He has been a good mentor
to my daughters, one of whom is now working in the Banking Industry and the other who is
in her final semester at school.

Mr Elling has always been incredibly generous, opening his home to visiting friends (even
when he himself is not at home) particularly those fro~ outside of state/the country. His
visitors' book is large and full of expressions of appreciation from those who have spent
time in his home.

I have in summary been incredibly fortunate to have enjoyed a great personal friendship
with Mr Elling spanning over four decades.

Please do not hesitate to reach out if I can provide further information.

Sincerely




Sue Mezzanotte
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                                                                    From: Sylvie Rottman


                                                                    March 4, 2025



Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208



Re: character statement for Martin Elling

Dear Judge Ballou:

I write the following character statement for Martin Elling with the awareness he has pied guilty
to obstruction ofjustice.

I first met Martin Elling at Harvard Law School in the fall of 1990.

He was a JD student, head of the Harvard international law society. Under his aegis, the
international law society was the most welcoming on-campus organization for so-called
«international » students like me, who had joined the Harvard Master of Laws (LLM) program
after having completed a legal curriculum outside of the US.

Martin and I didn' t know each other so well back then, even though Martin invited me to a
couple parties, and I participated actively in organizing a delegation trip to France, coordinating
mostly with another member of the Harvard International Law Society.

Our decades long friendship found its true footing a few years after our graduation, in or around
1997.

At that time, I was living in France, which happens to be the country where I was born and grew
up, even though I'm also a US citizen.

Martin reached out indicating he would be passing through Paris, and I invited him for tea. In the
course of our discussion, I recounted a recent trip I had taken to a foreign country, and my
discovery of a completely different culture and way of life. I remember there was a twinkle in his
eye when I told him about my discoveries, and he in tum shared his passion for world travel.

Through that shared passion for discovering other peoples and cultures, we« clicked» in a way
we had not before - and I understood we had what felt like a newfound fiiendship.
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Our friendship endured over decades during which I moved from France to the US and back.
France is where my mother was born from parents who were WWII refugees. I am also American
by birth, but my American father died prematurely when I was a child. I grew up in France loving
the United States and wanting to reunite with my father's side of the family. For my whole life, I
went back and forth to maintain ties with my father's family in the US, and my mother in France.
I found out later that Martin also had similar family obligations which had fostered back and
forth travel and appreciation for very different cultures.

After my degree at the Harvard Law School, I taught and practiced law for about 9 years. I first
worked as an associate for appellate law firms in Paris, and later joined an American business
firm. I moved to that firm's New York office in 1998.

The grueling schedule of the practice took a toll on me, however, and I ultimately quit the
practice of law in 2000, to become a journalist for a major US media organization in New York.
For family reasons, I moved back to France in 2006, and joined a French news organization as a
senior editor.

Throughout those years, Martin's loyalty as a friend has never failed.

When I moved to New York in 1998, Martin did not just welcome me in his circle of friends. He
also helped me look for a place to stay, visited a number of apartments with me - and helped me
pick the one I ultimately found. At that time, I already had misgivings about my legal career, and
Martin helped me think through a potential career change. He also introduced me to contacts he
thought might help me think through various options.

When I did quit my legal job, I needed a place to stay in New York City while looking for a
cheap rental. Martin again could be counted on as he let me camp at his place for almost two
weeks.

When I moved back to France in 2006, Martin stayed in close touch. Even though we have lived
oceans apart for over 18 years now, he ensured we spend time together, and he has supported me
through thick and thin.

Our friendship taught me important lessons about Martin.

1/ The first lesson is that despite the fact we frequented Harvard Law School at the same time as
a future US president and his close friends , and rubbed elbows with people who reached top US
government and business circles, Martin never forgot or abandoned his "regular" friends like
myself.

I've seen other friends of mine lose touch after having gained big jobs, failing to reply to
messages or check in when they were in town. I had to conclude those friends had become "too
important" or busy to make time in their schedules for someone like me who could not directly
advance their ambitions. Even though Martin had a very successful career, he never turned his
back on his old friends from " before" his success at the top of the corporate ladder.
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His success did not turn him into a transactional person, solely in pursuit of professional ambition
or wealth.

2/ To the contrary, Martin's support has never wavered, and he's always lent a generous ear
whenever I am in distress or need a friend to talk to. Ever since I left New York and moved back
to Paris, we have talked to each other by phone a lot. For the past few years, we've been having
phone conversations several times per week. Martin has never shied away from trying to comfort
me or providing reasonable insight when I have to deal with personal hardships or life stresses.

His support has been even more significant and generous in the past years, as my mother' s health
has been failing which has been causing me a lot of concern and distress, as I am one of her
primary caregivers. Martin and I have been speaking almost every day in this period, and his
generous ear has been a lifeline for me- as he has listened, empathized, and given his opinion
whenever it could be helpful.

3/ Throughout the years, I've also known Martin to be generous with society and with a
heightened desire to help the community. Over the years, I know he has made generous charitable
contributions to causes he believed were important.

4/ Another lesson came through traveling with Martin in several foreign countries over the past
20 years. We were fortunate enough to travel together in a number of countries, sometimes for
more than two weeks. Those trips were a way for us to spend time together, including with other
friends.

Those trips taught me a lot about Martin' s way of looking at the world.

As we' re arriving in a country or driving through it, Martin will be looking at the buildings,
constructions, people's activities and immediately he will observe if they live in solid dwellings
or suffer from poverty. Then as he explained to me in our first trips, he's got a three -pronged test
to detect if people are happy or not: 1/ do they smile? 2/ do they smile to each other or with each
other? 3/ if a foreigner says hello with a smile, will they answer back and how?

In one of those countries, the tests were clearly all negative, and the people came across as stem
and austere. As we left that country by land to enter a neighboring country, Martin noticed stark
differences in the border post three yards into the new country. The place was less orderly, but
the border guard was bopping to happy music over the radio, and he happily stamped our
passports with a smile. Martin nudged me and pointed to the border guard: "do you see how
happy he is? We're in a completely different world".

Martin relished witnessing people as they enjoyed moments of simple happiness, and he relished
sharing those moments. Our countless hours sharing such moments together led me to believe
other people's happiness genuinely mattered to him.

Seeing people with very different lives than our own, yet the ability to enjoy simple pleasures in
life, also made him reflect on his work and what he hoped to achieve in his job. The goals were
never about money or power but about helping make the world a better place.
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5/ Martin's appreciation for people and curiosity about them also gave him boundless energy to
make contact with locals. He always had extensive conversations with guides, drivers, innkeepers
or anyone we met. After a day of sightseeing, Martin was never done and when others were ready
to collapse and rest, Martin always wanted to go where the young people party, talk to the locals,
try to understand their concerns and their dreams.
Often times, people's dreams involved a small business venture and Martin always relished
trying to help those individuals identify beneficial strategies or oppo1tunities, and he always tried
to give helpful insight or ideas. In a pleasant and diplomatic way, he also made sure to let people
know the ideas he supplied were not idle banter but serious advice that might be helpful as it
came from a professional.

6/ Martin's observation of the world also led to frequent discussions about ways to improve
people's lives. There was a time when Europe was debating restrictions on genetically modified
crops, as many Europeans were deeply suspicious of potential haimful effects. As we would
discuss those debates, Martin would always remind me that those crops ensured billions of people
could be fed who would otherwise be starving. He believed in the power of science and
innovation to improve people' s lives.

7/ Another remarkable thing about Martin is how much he enjoys fostering human connections.
His friends have found him so inspiring and such a role model, that I don' t know anyone who has
more godchildren. Two of Martin's godchildren are now young adults, I have met one of them
recently and she's a loving and bright young lady. But there's a new baby and two toddlers who
are more recent additions to his godchildren. Over the years he has discussed his godchildren
with me, and I know despite his very busy life he has always found ways to spend time with them
and to help them find their own path.

Martin also tries to create ties around him so that his friends will meet one another and get to
enjoy each other's presence. Those are more ways in which Martin has been generous in the
small ways that matter in people' s lives.

Thank you for your consideration,




Sylvie Rottman
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To:

Honorable Robert S. Ballou

United States District Judge

Western District of Virginia

210 Franklin Road, SW

Suite 206

Roanoke, Virginia 24011-2208



Subject: Regarding Martin Elling - Personal Testimony



Honorable Judge Ballou,

I am writing this letter to share with you my experience of the person Martin Elling, who I
understand has been convicted of criminal conduct.

My name is Harry Seip, I have worked at McKinsey & Company for over 17 years, most
recently as a Partner leading our Digital and Analytics work in Bangkok, Thailand. I am
currently the chairman of my own company providing consulting services in Amsterdam,
The Netherlands. I hold an Engineering degree and an MBA. I am married to Nora and
father of two lovely daughters. In my community I have been involved with advancing
the role of women in Tech in Asia and Europe, as an organizer, speaker and mentor.

I have known Martin for six years and counting and was first introduced to Martin when
he joined our Bangkok office. We quickly bonded over shared passions for Thailand,
food and travel. We have worked together professionally for clients in Thailand, and we
have become close friends . Until his departure I worked with Martin on a daily basis and
we would meet socially on a weekly basis. I consider Martin one of my closest friends
as also illustrated by the role of godfather to our two daughters. Because we moved top
Europe last year our contact has moved more towards virtual facetime and we still have
managed to see each other twice in person, one time when Martin was visiting us in
Amsterdam and the second time when we visited him in Thailand for his 60 th Birthday.

In describing Martin as I know him he is a person who is helpful, emphatic and
generous with his time and advice. I will try to give some specific examples.

Martin has a strong connection and love for his adopted home Thailand. I have seen
him exert a positive change in small acts such as helping his Thai language teacher get
an affordable place in Bangkok or striking a friendship with local monks at a temple,
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supporting their charitable initiatives as well as in a more organized context such as
organizing successful charity drives as part of rotary club Bangkok, directly helping
many families in need in the most poverty stricken areas of Bangkok and Thailand.
Martin is a person who cares for his fellow human beings and dedicates his time and his
connections to advance the wellbeing of at-risk communities.

Martin is also a warm and loving friend to our family. We have had countless dinners
with him and my wife, Nora. When our daug'hters were born, Martin was one of the first
people to visit us. Nora and I have asked him to be a godfather to our two daughters
because we want him to convey his positive influence on our daughters and see him as
an important part of our extended family. Martin has fulfilled this role with great care and
dedication, taking an active role in their upbliinging such as sending ThaVEnglish books,
so they stay connected to their Thai heritage (I am half Thai myself), sharing cultural
milestones such as Thai New year and organizing regular check-ins via Facetime to
keep updated on their development. I could not wish for a better person to fulfill this role
than Martin.

What makes Martin a good person in my opinion is his day-to-day kindness that I have
observed. Over the past six years, we travelled a lot in Thailand, spending days and
weeks together on the road. Martin was always kind to people he met irrespective of
their station in life. He is humble, has a listeming ear for everyone and can leave a
lasting impression in even a short time. I remember being at a hotel breakfast in Koh
Samui and finding out we got a specially made fruit platter from the staff because Martin
struck a conversation with them, and they liked "Khun Martin" (which roughly translates
as "sir Martin") so much they wanted to provide a small gesture. Martin's humility and
kindness are not just occasional gestures but an intrinsic part of who he is every day.
Having known Martin for years as a friend, colleague, and godfather to my children, I
can say with certainty that he is a person who consistently acts with generosity and
integrity. I hope this account of my experiences w ith Martin provides a more complete
understanding of his character and the values he upholds in both his personal and
professional life.

Sincer:ely,

Harry Seip,

Amsterdam 18 February 2025




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                                                                        February 10, 2025

Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208


Subject: Letter on behalf of Martin Elling

Dear Judge Ballou:

I recently retired from McKinsey & Company where I worked as a management
consultant for 32 years. I served as our firm's Chief Financial Officer, was a
longstanding member of our elected board, and led our efforts around social
responsibility. Since my retirement, I focus on investing in and helping build small
businesses in New York City.

I am writing this letter on behalf of Martin Elling who pied guilty in your court to one
felony count of obstruction of justice - related to his deletion of documents in a federal
investigation. I knew Martin throughout his entire career at McKinsey- where we
worked together in client service and in support of various firm initiatives and programs.
Over time, Martin and I also became friends outside of work and I got to see him
interact with his family, friends, neighbors and broader communities.

Martin Elling has a big heart. He is there to emotionally support the children of his
friends, to help his extended family financially and to give back to his causes. He has
been an avid supporter of environmental protection in New York City and elsewhere.
He is a staunch believer in our country and the principles upon which we are built. I
have seen outsized acts of kindness to friends in need and small gestures to strangers.
In Martin, there are countless stories of family reunions organized, well-intended
philanthropic donations and friend groups kept together through his positive spirit.

I had the chance to see Martin at work at McKinsey. He cared passionately for the
personal wellbeing of his clients. I recall the efforts he undertook to support an
executive battling breast cancer - traveling on weekends to be there for her personally.
He went many times to Austria to visit a retired client for whom he was a surrogate son.
He was also the architect of our firm's commitment to learning - programs where we
instill the values of leadership. Martin was instrumental in working with me as CFO to
ensure these programs were funded.
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Martin's commitment to people and community has not diminished in the last few years.
He brings a smile to a room and a can-do attitude. Martin sees good in all and
endeavors to do good for others. I ask that you take his character into account as you
consider his sentencing.

Sincerely,



Michael Silber
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TO: Honorable Robert S Ballou

United States District Judge

Western District of Virginia

201 Franklin Road, SW

Suite 206

Roanoke, Virginia 24011-2208



FROM: Kevin Sneader




Dear Judge Ballou,

I am writing this letter by way of character reference for Martin Elling who pleaded guilty to the
felony charge of obstruction of justice and is awaiting sentencing.

I am currently an executive at a large global investment bank and previously served as the Global
Managing Partner of McKinsey & Company where I worked from September 1989 until August
2021. It was during my employment at McKinsey where I held various leadership roles that I got to
know Mr. Elling.

I first met Martin in 1996 when I was working in Hong Kong. Martin was visiting from New York for
an assignment in Asia and came to a dinner being held at a local colleague's apartment. It was a
rather unusual evening in that there was little food and even less furniture. We sat on the floor.
That's not the stand out memory from that evening almost thirty years ago. Rather it's the
remarkable experiences Martin shared of his travels across Asia punctuated by an immensely varied
set of references to books and movies which he offered up as we swapped stories. This was my
introduction to one of the most hospitable and widely read people that I have ever met.

I was reacquainted with Martin after moving from McKinsey's London office to its New Jersey
location in July of 1999. Shortly after arriving in the US, the two of us started consulting at the
same client. Right from the start
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Martin went out of his way to help my wife and I integrate into McKinsey in the US and into his very
large network of friends. His generosity in doing so was truly above and beyond what could
reasonably have been expected as he introduced us to a host of people that he knew professionally
and socially. Indeed, as I reflect on the 25+ years that I have known Martin it's his willingness to
help colleagues and friends that immediately comes to mind.

That willingness to help also characterised what I saw first hand in the way Martin served clients
around the world. I recall that one assignment saw us working together in Japan. Martin became the
"go to" person for clients landing in Tokyo and wanting advice as to how best to be successful in
Japan. Soon this status became true for large swathes of the world where Martin had travelled and
built understanding. For local colleagues, Martin was a willing mentor. Not someone to stand on
hierarchy, from the most junior new intern to a seasoned veteran, Martin would go out of his way to
be helpful—just as he had been to me and my family when we arrived in New Jersey.

Martin was also known for his ability to bring a vast array of experiences to solving the most difficult
problems. A uniquely well travelled individual who could recount the distinctive features of the
numerous countries that he had visited, Martin was routinely able to draw on those diverse
experiences to bring insights into how different cultures would see a variety of situations. This
cultural understanding was especially important when serving multinational clients working across
geographies with different social norms and expectations. It's one of the reasons why clients across
industries and geographies would seek Martin's advice.

As I was given more senior responsibilities, it became natural to ask Martin to step into leadership
roles that would make the most of his mentoring and teaching skills. This led to his taking on
leadership of important global training and development programmes. The feedback on Martin's
contributions was always positive. Simply put, Martin was seen as a truly valued coach to 100s of
colleagues who benefited from his generosity of time even though there were many more financially
rewarding ways in which he could have spent the countless hours to which he devoted himself to
help others succeed.

And that's how I will always think of Martin: generous; knowledgeable; well travelled; insightful.
Together they frame a character that attracted many followers over many years.

Thank you for considering the contents of this letter.



Yours sincerely,




Kevin Sneader
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                                                  Susan Sorenson




                                                                     February 10, 2025

Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
210 Franklin Road, SW, Suite 206
Roanoke, Virginia 24011-2208

Dear Judge Ballou,

I have known Martin E. Elling for over two decades, having first met him in 1998 at a dinner hosted by mutual
friends. We became godparents to their two children, and over the years, I've come to know Martin as someone
deeply committed to his family, friends, and community.

I am aware that Martin pleaded guilty to obstruction of justice in a federal investigation and is scheduled to be
sentenced by Your HC!nor.

To give you some background on me: I've been a resident of Midtown Manhattan for four decades, born in
Brooklyn and raised on Long Island. I am a college-educated legal secretary. I have been drug and alcohol-free
for 21 years and remain an active member of the AA community. Outside of work, I enjoy the cultural energy of
NYC, Latin dancing, tennis, biking, and traveling.

Martin is a person of great integrity, a man of his word who takes his commitments seriously. If he makes plans
with you, you can count on him to be there-on time, and fully present. His loyalty extends to both his family and
friends. I've often heard him share humble stories of how he's helped family members in need . Martin approaches
these moments with a mix of joy and humility, always expressing gratitude for being able to support those he
loves.

Over the years, Martin has become a mentor and guide to many, myself included. His wisdom is never
overbearing or pushy; instead, he offers suggestions with gentleness and clarity. I've often turned to him for
advice, both in personal matters and professionally. When I was struggling to compose a self-evaluation at
work, Martin helped me identify my strengths, enabling me to present myself in the best light possible.

In addition to being a reliable friend and mentor, Martin has a natural ability to bring people together. His gift for
making others feel seen and valued is unmatched. He listens with empathy, offers insightful advice, and fosters a
warm, inclusive environment wherever he goes.

Martin's kindness extends far beyond ordinary friendship. When my mother was diagnosed with cancer, Martin
was there to visit her in the hospital with me. When my father passed away, Martin attended his wake, despite
just having returned from an international flight. He showed the same level of support when my mother passed,
comforting me during one of the most difficult times of my life. These acts were a testament not only to his
friendship but also to his caring and compassionate character.

Our friendship has flourished over the years, and we've shared many incredible experiences together -
traveling to places in the US, Europe, Asia and a few Caribbean Islands. Through these trips, I've come to
appreciate Martin's vast knowledge, big personality, and genuine curiosity about the world. His ability to connect
with people from all walks of life has enriched my own perspective. I love Martin: his immense energy, kindness,
generosity and how his power of example continues to make a positive impact on my life.
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      20 February 2025



      Honorable Robert Ballou
      Unit ed States District Judge
      W estern District of Virginia
      210 Franklin Road, SW (Suite 208)
      Roanoke, Virginia 24011

      Dear Judge Ballou,

      I have known Mr. Martin since 2019 when he was transferred to Thailand. I have been his Thai
      teacher (we meet for lessons at least a couple tim es each week when he is in Thailand) since
      then. By way of background, I am a Thai national and studied here. I have a college degree in
      business and a Masters in languages from the top university in Thailand. I have taught business
      executives and oth ers for more than 20 years working for different top language school.

      I know he has plead guilty to a serious crime. But I need to tell you what I know of him as a
      student and friend.

      He is a student who has high motivation to st udy. He is intelligent, diligent, enthusiastic and
      highly disciplined. Almost never canceling the class. He will cancel only when it is necessary for
      a change in work such as a sudden meeting or travel shift. If he cancels he is always polite
      about it and make sure the reschedule does not impact other students or me.

       He has a w ay to learn th e language that emphasizes the needs of communication first, such as
      greeting people, conversa tion s with taxi drivers, or conversation with employees at work or in
      restauran t s. He wants to really understand the lives of our normal people. His learning is ful l of
      fun and lively. The lessons are ful l of creativity. He has a very fast progress. He can learn
      quickly. Within three months, he was able to communicate with people involved in everyday
      life very well. He speaks to people at street markets or out and about to understand their lives.

      What is special abou t him is that he is interest ed in depth in many stories such as Thai
      history, the way of life of people, ideas or views of Thai people, art, culture, education, health,
      politics, and Thai society. Stu dying in the next period began to be a discussion and comment on
      various issues as mentioned above causing him to increase the vocabulary more widely.
      Therefore his Thai language development progressed quickly.

       What I am very impressed is that he always says that learning languages is not just the
      language. But it has to be deep in the way of thinking of the lives and culture of the people in
      that nation. For me, it is deep because there are not many students who really care about what
      is Thai culture or about the lives of normal people. To lean towards what is a way of thinking,
      culture like this makes me feel that he is really humble and respectfu l of our country.




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      Thai language is not a universal language. There arc only about 66 million people using this
      langu age out of 7 billion people in the world. Therefore, having foreigners who are inter ested
      in learn ing Thai seriously. That is a special matter for us.

      M any t imes someone complimented him about his ability in his Thal language. But he will
      always be humble by giving a credit to me that II am a good teacher.

      As we have the opportunity to discuss and express opinions in many matters, it is an
      opportunity for me to get to know his identity.

      He is a person who is especially attentive to "people".
      When I have the opportunity to meet with many people with him wheth er friends, colleagues,
      including the people he met for the first time at various places such as staff at the
      restauirant, merchants at variou sstores or taxi driver which as far as I can feel that everyone
      likes hi m very much. When any people have problemsor need a consultation, they will always
      call or make an appointment with him to ask for advice. And he was always really happy to
      help those people, despite having a very busy job and life of hi sown.

      In many times I was amazed and surprised . The person he j ust got to know for the first time,
      who jwst talked to him in a matter of minutes felt trusting of him. They like to talk about their
      own d,eeper issues such as family or work problems. In our culture it is not common to be so
      open to people we do not know for a very long time. But people know he cares and can offer
      good advice.

      Many times of meeting people who he just know briefly. Those people invited him to eat with
      their families or even invite him to attend a family wedding. He knows a wide range of people
      from business, the arts, diplomacy, and everyday walks of life. They really like and love him.

      With h is care to the people, he will hold a lot of weight souvenirs every time he comes back
      from America to give me and others knows. He is not buying fancy items but things that will
      make someone happy. He will bring a brand of simple chocolate to a neighbor because he
      knows they like that specifically. Or he will bring vitamins that are hard to find here for a
      growing child. He find little things to put a smile on many many faces. He doe not show off but
      brings simple things. It is because that he really cares about everyone, so we are all really
      thankful from the heart.

      He always asks about my health and family life, such as " How did you sleep last night?", " Did
      your mother get the influenza vaccine?", "How is your nephew doing at school? And he does
      the same for other people he knows. And if people are stressed he tries to help with ideas,
      advice, or in any way he can . For instance he knows someone fighting alcohol addiction He
      does not know them well but follows up to make sure they are getting better. He always follow
      up the results of situations.




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In addition to asking about various matters, he always warns and recommends me about
health, such as "You should eat better food", "You should do some exercise" or "I found a good
shoe shop so you can get shoes that do not hurt your feet." These things may seem like small
things but it can be said that he is worried and concerned about others. Not just with me but
with everyone around him. It is really rare to see people care like that about a person even if
they are not a long time friend or family members.

Sometimes he helps in crazy ways. He learned :hat many Thais drown to death. Then he
learned I could not swim . So for my birthday gift he gave me some "Swimming course" so I
would not be afraid of or in danger of water. A couple times a Thai in his world has asked to
borrow a sum of money for a fam ily crisis. I usually warn him not to risk it but he usually goes
ahead pointing out the person's need. He replies, "That family is in trouble. If the bit of money
can really help them I am happy."

With normal people he meets (building staff, shop employees, more) he is always polite and
treats them as equal. He gives consultation about the career path to many people including to
some monks he knows. And he also tries to find little ways to help different people . He might
bring a special herbal candy back from the mountains for someone's mother. Or he might give
someone an extra ticket to enjoy a music concert. When he heard a friend's family needed a
freezer for their new ice cream shop he emptied one he kept food in during Covid and donated
 it to help start their shop.

From his first arrival in Bangkok he wanted to understand about how education or healthcare
works. He asks me and others about different causes so he can think about how best to make
donations. I do not know how much he gives but I know he gives to local charity, such as
providing scholarships to students, help for Myanmar refugees, and to help poor people.
During Covid he asked me and others to help fill care packages for poor people hit very hard.
He will always say that "Do not put my name in those donations envelopes We should be nice
because we want to be nice not for credit."

He is a simple person and wants just see others smile or be happy, such as while walking along
the street, he will be happy to see people smile, greet or talk friendly. Or to support friends he
makes sure we go to their shop for coffee. He'll say "We have to support them."

Once I helped him organize a birthday gathering. He had different friends wanting to
attend. Usually, on birthdays, people get excited to receive gifts. For some people that is what
they care most about. But he told his friends, "Do not give me any gifts. Ju st make a donation
to a non-profit helping people". And although he was exhausted he worked hard to make sure
his friends learned about Thai cu lture, got to know each other as friends, and could relax. It
was his birthday but he ca red more about ever(one else.

 There are many examples that I did not write in here of how kind and caring he has been to
 many people. It would be a very long list. It is a great opportunity to help teach him Thai and
 Thai culture. But it Is also a great opportunity that I got to know this man as a person. I have




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      learned many things from him. It opened the world of new ideas for me and helped me to have
      a better life. And he has made sure that many of his friends also become mine so we can
      support each other. He Is the guy who does "Good Million Little and Big Things" to Improve
      situations and people's life around him!



      Dear Honor, I know this man has committed a crime. But, like everyone who gets to know him,
      I know he is caring and a good person. No matter what happens I know he will ke ep on helping
      other people whenever he can. He will help a,lot of people over the years.

      When everything is finished I want people who read this letter have the opportunity to make
      an appointment to talk to him for 1-2 hours. You will understand that what I mentioned
      above is not exaggerating. He is a really good person.

      With deep respect, sincerely,


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Honorable Robert S. Ballou
United States District Judge
Western District of Virginia
21 0 Franklin Road, SW
Suite 206
Roanoke, Virginia 24011-2208

Honorable Robert S. Ballou,

I am writing to you today to provide my perspective on Martin Elling, a friend of mine who has pleaded guilty to a
serious crime. I have known Martin for over five years and have had the opportunity to observe his character
firsthand.

I am 57 years old Swedish national living in Thailand. After high school, I served in the military and then worked at
a company that manufactured hydraulic components. I later started my own computer consulting company and
was hired by Umea University as a consultant and IT support technician. Currently, I own a company based in
Thailand that provides services to clients primarily in Thailand. Our company specializes in IT security, backup,
and ransomware protection.

I first met Martin through the Rotary Club of Bangkok, where I am currently the chairman of the membership
committee and will become the president in a few months. Martin is a very good and caring person. He is
undoubtedly one of the kindest and most helpful individuals I know. Our Rotary club is nearly 100 years old and
was the first in Thailand. It has many notable members, and Martin was very quick to make friends with many of
them. He is respected and liked by both Thais and foreigners alike. He is respected by members much older than
he and by those much younger. Everyone knows his caring personality.

Although he has pleaded guilty he still has very strong support from our Rotary members who know his character
and how much he cares about others. He generously supports most of our charity initiatives and is one of our top
donors. He actively participates in Rotary's efforts to eradicate polio globally. Locally, he supports initiatives that
provide education to disadvantaged youth, clean up the environment through neighborhood action, and offer
emergency relief after floods or other disasters. He doesn't just donate; he also gives of his time whenever
possible. He joins delegations to an upcountry orphanage that we support, travels to a school in the rural
mountains to hand over a drinking water purification system, or spends time with students at schools in different
provinces. These are just a few recent examples.

A couple of years ago, we collaborated to organize the annual fundraising event. Despite his busy schedule, he
enthusiastically joined me in finding talent for the 'show.' Interestingly, he managed to secure the donation of a
renowned Thai singer. How did he know her and her husband? They had met for a few hours on a boat to one of
the Thai islands. He is the kind of person who quickly earns people's trust and affection due to his genuine, caring,
open, and easy-to-communicate nature. Martin cared that our event would not only raise substantial funds but also
be memorable for people from diverse backgrounds and ages.

Within Rotary, he has been consistently chosen for several years in a row to be part of a small delegation that has
an annual audience with the Royal Princess. This recognition reflects the high regard in which he is held for his
engagement and compassionate nature.
Martin has an exceptionally diverse and robust circle of friends. In Thailand, he's acquainted with CEOs, but he
also knows monks, film directors, musicians, community activists, and young entrepreneurs. What truly sets him
apart is his generosity with connections. He genuinely wants his friends to become friends with his other friends.
He frequently find different ways to bring friends together. He consistently pays for a table or two at our Rotary
fundraisers and installation events and extends invitations to others. Martin actively seeks to connect people who
can mutually benefit from each other's expertise. Unlike many who guard their relationships, he freely shares them
with others.

In essence, Martin is a genuinely kind and caring individual who deeply cares about society and others. If you or a
family member falls ill, he's the first to reach out. If he notices a staff member struggling, he offers a kind or
encouraging word. And when there are those in need, he makes an effort to help.

Your honor, I must admit that I have a slight bias because we share Swedish heritage, but Martin is undoubtedly a
powerful positive force and someone I consider a role model for others.

Regards,
Nicklas Ulander           ,~\j\~
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                                                                 Amsterdam, 18 February 2025




    Honorable Robert S. Ballou

    United States District Judge

    Western District of Virginia

    210 Franklin Road, SW

    Suite 206

    Roanoke, Virginia 24011-2208



    Subject: Regarding Martin Elling- Personal Testimony


    Honorable Judge Ballou,

    I'm writing this letter on behalf of Martin Elling, a close friend and the godfather of my two
    daughters. I understand Martin has been convicted of criminal conduct and I'm therefore
    providing a statement about Martin's character that I hope will help you get a better
    understanding of the kind of person he Is.

   My name Is Nora von lngersleben-Selp. I hold an MBA and a PhD In Public Policy, and I
   currently work as a Research Fellow at auniversity In Amsterdam In the Netherlands. I've been
   married to Harry for 11 years and I'm the mother of two daughters. At the university, I mentor
   numerous PhD and Master's students to help them progress In their careers. I have also
   volunteered for many organizations, Including a charity that helps youths with HIV In
   Southeast Asia and a social enterprise that support woman artisans In Rwanda.

   I met Martin six years ago through my husband Harry, who at the time worked together with
   Martin at McKlnsey & Company. From the first time we talked, I was Impressed by how
   friendly, open, and genuinely interested In my opinions Martin was. That Martin spoke to me
   at length when we ff rst met was far from expected because Senior Partners at McKinsey do
   not typically take time out of their busy schedules to get to know the spouses of their (junior)
   colleagues.

   After that ff rst meeting, Martin quickly became aclose friend and an Important part of Harry's
   and my life In Bangkok. In a city far away from home, Martin was an Important source of
   knowledge and comfort for both of us. His door was always open, and we spent many an
   afternoon talking to Martin at his home or at a cafe about politics, our families, and the Issues
   with which we were grappling In our personal and professional lives. He always listened
   patiently and carefully, and he always had thoughtful answers and advice for us.


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    What also stood out about Martin was his deep knowledge about Thal culture. Within a year
    or so of arriving In Bangkok, Martin had not only learned to speak conversational Thal but had
    also Immersed himself In the history and culture of his new home country. Even though my
    husband Is half Thal, Martin could still tell us things about Thailand that we didn't know. His
    love for the country and his people was Infectious. When we took long walks around Bangkok
    with Martin (which we often did on the weekends) or traveled to other parts of Thailand
    together with him (which we did many times during the holidays), he would find a hidden
    temple, a small hole-in-the-wall restaurant, or a local cultural event that would allow us to get
    to know yet another facet of Thai culture. I very much enjoyed living in Thailand before I met
    Martin - but I truly fell in love with the country and its people only after I had the privilege to
    see them through Martin's eyes.

    Martin deeply cares about helping disadvantaged communities in Thailand. He is part of a
    local chapter of the Rotary Club that engages in many charitable activities in different parts of
   the country. His commitment goes far beyond giving money. Martin is one of the most active
   members of the club and often travels to remote parts of Thailand with fellow Rotarians to
   meet with members of poor communities and help them in concrete and tangible ways, for
   example, by building schools. Additionally, when Martin celebrated his 60th birthday with
   friends in Bangkok, he didn't ask for gifts but instead encouraged his guests to donate to Thai
   charitable organizations. To make this process as easy and painless as possible, he put together
   a detailed booklet listing the histories, aims, and bank details of a whole host of charities. As
   a result, many of his friends from around the world donated to Thai charities. Without Martin's
   encouragement and leadership, these donations would never have been made.

   Because Martin is such a compassionate, knowledgeable and inspiring person, my husband
   and I asked him to become the godfather to our daughters when they were born. Martin kindly
   agreed and has been an important and hugely positive influence in the lives of our daughters
   ever since. He never forgets to send them thoughtful gifts for their birthdays, Christmas,
   Easter, and even the Dutch holidays we celebrate now that we live in Amsterdam. Martin has
  been especially keen to make sure that our daughters learn more about Thailand, improve
  their Thai language skills, and celebrate their Thai heritage (since they are one quarter Thai).
  He goes to great length to find children's books that contain both aThai and an English version
  of the same story, CDs with Thai children's songs, and toys that have a connection to Thailand
  (e.g., a Lego version of a Thai taxi or a cuddly toy that looks like Moo Deng, the famous pigmy
  hippo from Thonburi Zoo). Even though our daughters no longer see Martin on a regular basis ,,
  since we've moved to the Netherlands, they call him "Uncle Martin" and always look forward ·
  to speaking to him on Zoom.

  Let me finish by pointing out what an exceptionally generous person Martin is. Not only does
 he often open the doors of his home to invite old and new friends for a good meal, but he is
 also more than happy to make introductions to people in his extensive network across North
 America, Europe, and Asia. In addition, he generously shares his knowledge about business,



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   history, and politics during long conversations over tea or a shared meal. I know that I could     I

   call Martin in the middle of the night to ask for help and he would be there for me. That's the    I
   kind of friend and the kind of person he is.
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J.S. Watson

Brussels, 27 February 2025



Honorable Robert S. Ballou,
United States District Judge,
Western District of Virginia,
210 Franklin Road, SW,
Suite 206,
Roanoke, Virginia 24011-2208



Dear Judge Ballou,


Being aware of the fact that my friend, Mr. Martin Elling, has pied guilty before your
court for having committed the felony of the obstruction of justice by deleting
electronic documents which were relevant to a federal investigation and,
consequently, is due to be sentenced for that offence, I am happy to furnish a
statement of character in order to assist the court in this matter.

In order to provide some context to the origin of what follows, I will first present myself.

Though born in Scotland (in 1956), I spent most of the first half of my life in The
Netherlands following my parents' decision to move to that country for professional
reasons. After having graduated in law at the Erasmus University in Rotterdam, I first
worked as a university lecturer and then went on to fulfil several functions in the
Netherlands' Administration. Next, I moved to Luxembourg to work as legal counsel,
consecutively, to two members of the Court of Justice of the European Union. I
finished my career in Brussels, Belgium, working as senior legal counsel in a
European institution. I retired in January 2023 and still live in Brussels.

I first met Mr. Elling on a visit to New York City in 2005 through my wife, who had
befriended him during her studies at Harvard University in the early 1990's. Though
I did not see much of Mr. Elling in the immediate years after our first meeting, since
2009 our paths have crossed quite frequently (i.e. some three times annually),
despite the fact that we live far apart. On those occasions we spend much time, often
days, together during extended visits to each other's homes or on trips to various
countries. We also have very regular contact through email or WhatsApp. Overall,
my own personal relationship to Mr. Elling has evolved and intensified over the years,
such that I can call him a true, valued and close friend in his own right and I therefore
feel that I am in a position to testify to his character.
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My first thoughts in characterising Martin Elling is that he is an extremely outgoing,
inclusive and generous person with a great interest in others and other cultures.
Outgoing, in that he is very socially engaged, always making contact with and
befriending people wherever he goes. I have frequently witnessed him engaging with
a great variety of people in different countries, always eager to learn of their stories,
circumstances and experiences, evidencing his inherent and genuine interest in his
fellow human beings of all stations. A typical illustration of that is, after having
reached his destination by taxi in Brussels, he spent an hour talking to the driver,
who came from an African country, about the driver's life story.

Over the years, Mr. Elling has built up a large group of friends who stay faithful to
him. Also, he makes a point of bringing these friends together, thus creating new
friendships between them. This is evidenced by, for example, the large gatherings
he hosts to celebrate milestone birthdays, when people he has met at all stages of
his life participate in the programme he has meticulously put together. At these
occasions, which typically involve some fifty odd persons, there is much interaction
between all participants. But beyond these gatherings, friends from this large group
meet amongst each other, often at Mr. Elling's initiative, whenever possible, as my
wife and I have also done on various of our shared trips and visits. In other words,
there is ongoing contact in different settings, thanks to him.

Having said that, his magnanimity is not limited to these gatherings, nor is it only
material in character. He also shows his generosity by making his home available to
friends, even when he is not present himself. He is, in other words, a most welcoming,
humane and altruistic person, always willing to share whatever he can contribute
whatever he can for the benefit of others.

On the theme of generosity, I have never discussed with him to what extent he
contributes to charities, given that this is often a private matter. However, whenever
it comes to him receiving gifts, rather than indicating certain items he would like for
himself, he invariably asks his friends to donate to any of a number of charities he
has selected in advance. This in itself suggests that he seeks and is aware of needs
in society. Most recently, at his instigation, my wife and I made donations to two
charities, which are aimed at dealing with the plight of underprivileged children in
Thailand and with educational projects in that country. Not having confirmed with him
before writing this note, but knowing him as I do, I have every reason to believe that
he personally contributes to the projects he recommends to his friends.

In addition, when he moved to Bangkok, he joined the Rotary Club there, firstly to
engage with local society (which again testifies to his outgoing personality mentioned
above), but, also, through his membership to contribute to various projects in
Thailand supported by the Rotary. I recall him describing these projects and his visits
to the sites involved with great satisfaction.

On a more personal level, I would describe Martin Elling as a warm, caring, dedicated
and faithful friend. He is always most considerate, helpful and involved, a man with
a big heart, a heart more importantly in the right place.
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I hope that these observations prove useful to the Court in reaching its decision in
the matter at hand.



Yours sincerely,



J.S. Wat
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                                                                              21 February, 2025



To: The Honorable Robert S. Ballou

From: CAPT Bruce J. Weidner, SC, USN (Retired)

Subject: Statement of Character on behalf of Mr. Martin Elling

Judge Ballou,

Allow me to introduce myself, I am a retired Naval officer having served 30 years of my life for
this nation. I am a veteran of both the Gulf and Iraq War, deploying in support of each of them
as well as numerous other times during my career. Previously, I coached youth sports for AYSO,
YMCA, The Boys and Girls Club, as well as local youth football. In retirement I still work on the
waterfront near my last duty station, San Diego, CA. I also support a career fair at a local high
school sharing with the students opportunities in the military, maritime industries, and
businesses.

It has been my distinct pleasure to have known Mr. Elling for over 30 years. I was introduced to
Martin by, his friend since middle school, my wife Lauren. I am fully aware Martin has plead
guilty to criminal conduct.

In my countless interactions with Martin over these past decades I have always found him to be
a caring, charitable, and honest person. He is an individual who is guided by empathy and
fairness. A fantastic host and a truly benevolent person. Martin's kindness extends to our
children as well. One occasion I recall, he shared with our son a large jar of coins. It was just
pocket change from his travels abroad. Then he and my son sorted them with Martin identifying
the country of origin and something about that country or the individual/symbol on the coin.
What was merely a collection of pocket change to you and me became a doorway for my son to
feel, see, and learn about the world. It was an enlightening event for me as the expression on
my son's face glowed with wonder.

Knowing Martin has been a positive experience for my entire family. Throughout life friendships
wax and wane, some disappear altogether, but my family's relationship with Martin has been
steadfast and will continue be so because of the person he is. We hold onto those things we
cherish most in life. Thank you for your consideration.

Very respectfully,
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                                                                                     February 7, 2025

 Honorable Robert S. Ballou
 United States District Judge
 Western District of Virginia
 210 Franklin Road, SW
 Suite 206
 Roanoke, Virginia 24011-2208

         Re: Martin Elling

 Your honor,

 I am writing this letter to you as you consider the sentencing of Martin Elling. I am aware that
 Mr. Elling has pied guilty to obstruction of justice. I hope it will be of value to you to know why
 Martin has been one of my closest friends since we attended middle school together at Irving
 Robbins Junior High School in Farmington, CT.

I moved to Farmington with my family in 1978. Martin and I rode the school bus together until
we both learned to drive. We were often in the same classes. At some point, we were simply
close friends, and we have remained friends to this day. Martin is part of the reason I was
inspired to travel the world at the age of twenty-one (which I pursued for the better part of two
years), and also was part of my inspiration to attend law school.

 I graduated from UC Law (then UC Hastings College of Law) in 1991, passed the California Bar in
 1991, and have remained a member of the California Bar in good standing. I am admitted to the
Northern, Eastern, and Southern Districts of California. I am the proud wife of 32 years to a
retired US Navy Captain, and mother of two wonderful adult children (an engineer and a
teacher). From 2000 through 2007, in addition to the full-time practice of law, I served on the
City of Chula Vista Parks and Recreation Commission (a volunteer position), with one year as
chair of the commission. I also volunteered as Ombudsman, US Navy LTFPAC HQ 120, Coronado,
from January 2006 to November 2008. Since 2017, I have volunteered as a Court Appointed
Special Advocate (CASA) to support children in foster care .

I do note that Martin retained me during the course of the investigation as an attorney to
consult with him from time to time. The views expressed here are my personal views based
solely upon my long-term friendship with Martin and are not based on anything I may have
learned from Martin in a legal capacity.

As my friend, Martin is funny, smart, kind, generous with his time, and caring. But, Martin is so
much more than that. He has made such a positive impact on the world in so many large and
small ways. I admire him as more than just my friend, I admire him as a human being.
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Martin has always been motivated to improve his community and make the world at large a
better place. In retrospect, I believe that Martin's world view was greatly influenced by his
mother, a polio survivor, who was born in Austria. She emigrated to the US after falling in love
with an American GI and marrying him. She grew up with the aftermath of war in Europe and I
suspect that her experiences motivate Martin to make a difference.

Even in high school, Martin not only showed many small kindnesses to the people around him,
but he cared about improving his community and the world. He ran for student body president
in our Senior year. He won based on his platform, as opposed to popularity. (We were the smart,
" nerdy" kids in high school and would not have won any popularity contests.) During his tenure
as student body president, he made improvements to th e student run programs at the school
and also organized an ambitious weekend conference for the student body. The conference
focused on youth and leadership. He brought in international diplomatic representatives,
government officials, including Senator Chris Dodd, university professors, and other community
leaders to speak at the conference. He solicited donation s to support the experience. He even
convinced our local McDonald's franchise to provide lunch for all of the attendees. Undoubtedly,
his efforts inspired many of the student body who attended the conference to pursue careers
that ultimately contributed to the improvem ent of many communities.

Martin and I attended different universities for our undergraduate degrees, but we remained in
touch. I am aware that he co-founded the first student run credit union at the University of
Chicago, which I understand was successful and provided much needed banking services to
University of Chicago students at a much lower cost than commercial banks.

In our adult years, while Martin did not have his own children, I have seen him be a very
positive influence on the children of his friend s, his nieces and nephews, and other young
people who have crossed his path. He has provided advice to my children on questions of
education and career choices. He is god-father to several of his friends' children. I have spent
time with his now adult goddaughter. She is a lovely young woman who has a very close
relationship with Martin. I believe that Martin contributed to her upbringing and world view in a
positive way. I am aware that Martin spends time with her whenever he visits Europe. He
regularly provi des emotional support and cou nsel to all of his other godchildren.

Martin cares not only about the well-being of children in his orbit, but also the health,
education, and well-being of children generally. Martin has been involved in fund raising for
schools in rural Thailand and has also given generously to that cause. As I am a co-executor
designated in Martin's will, we have generally discussed his end-of-life planning. I am aware that
he intends hi s legacy to include f un ding of schools in Thailand. Martin has also told me that he
has donated significant sums to environmental causes, including the Nature Conservancy.

Since he has moved to Thailand, Martin and I speak almost daily (barring work or travel
interference), and we have seen each other for at least one visit (but often more) per year. I
have visited him in Thailand on two occasions. I have also seen him at least annually in New
York.
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I have personally observed Martin interact with many people with who he comes into contact.
He has always been friendly, generous, and kind to everyone. He is remembered by name by the
staff of stores and restaurants in his Manhattan neighborhood, even though they may only see
him a few times per year, as he now primarily resides in Thailand. In Thailand, he has friends
from all walks of life including: a struggling furniture salesman, artists, antique experts, Buddhist
monks, musicians, actors, business people, and even a former government official, to name just
a few. He treats all of them with equal respect.

I truly believe that Martin has made a very positive impact on the world in many ways, and that
he will make every effort to continue to do so.

Thank you for your time and consideration of my input.



                                         ~ ~ely,          -f-?f/4- .
                                              Lauren F. Weidner, Esq.
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 9 February 2025

 Honorable Robert S. Ballou
 United States District Judge
 Western District of Virginia
 210 Franklin Road, SW Suite 206
 Roanoke, Virginia 24011-2208

 Dear Judge Ballou,

 Over my career I worked as Senior Manager for a large Bangkok exhibition and a
 Thai government-related property company, and as Senior Vice President Finance for
 a publicly traded company. After my retirement and being a Rotary Club of Bangkok
 since 1997 to now, in 2019 I came to know Martin when he was transferred by
 McKinsey to work in Thailand. I was president of Rotary Club of Bangkok, the
 premier Rotary club in the country. I have been a member for 28 years and am still
 on its board.


 I could write many pages about Martin's unique and excellent character. He is quite a
 special person .


 First, he is an exemplary Rotarian. He is generous, ranking as one of our kindest
 donors each year. He supports causes like schooling for indigent children , refugee
 integration, and nursing student scholarships. He makes a significant contribution
 each year to Rotary lnternational's fund to eradicate polio. He supports food
 donations in times of natural disaster or during the pandemic. These are just
 examples. He also is generous with his time. When he is able, he joins for community
 projects like tutoring children, handing over water purification systems in remote areas
 of the country, or representing us with our sister clubs and their projects. He has
 impressed our District Governors as well as the presidents of other clubs as a kind,
 caring, and active Rotarian. For four years the presidents of our club have selected
 Martin to be one of a handful of members to represent the club in an annual audience
 with the Royal Princess of Thailand.


 Martin is quite humble. His gifts are generally anonymous and he doesn't need to be
 photographed 'doing good' like many members. For him knowing he has helped
 someone is reward enough. He continues to work at learning the Thai language so he
 can better understand the people he is trying to help . He has a longer term vision
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 to make a more significant contribution by establishing scholarship funds to assist
 provincial students make their way in life. But I also remember that after he read that
 many Thai children drown to death he began thinking of ways Rotary or he could help
 to teach swimming to underprivileged youth in the provinces.


 His caring and attentiveness are quite distinctive. He likes to understand other
 people. It could be a rural school teacher, a clerk in a market, a community leader, or
 his fellow Rotarians. This caring and empathy have given him the ability to make real
 friends among our Thai and foreign members but also across generations. Some of
 our oldest member cherish him. And some of our youngest members seek him out for
 business mentoring or understanding of Thai culture.


 I have had the pleasure of traveling with Martin in Thailand. He is eager to learn the
 local culture and ways of the people wherever we visit. He is respectfully of our local
 traditions and tries to understand them. But he is also very helpful to others on the
 trip. Sometimes we have older members along and he makes sure to chat with them
 showing interest in their lives. But he also helps them with their bags or to get them
 beverages so they don't have to get up. This kind of behavior is unusual for someone
 like Martin who has spent his life consulting to CEOs and has an excellent network
 among business leaders.


 I enjoy speaking with him always because he is both fun and serious. One minute we
 can be discussing a Thai festival and its meaning. At another time we might be
 discussing how to improve education opportunities for everyone or reduce pollution in
 Bangkok.


 In summary Martin is one of the kindest and most caring people I have had the
 pleasure of knowing. I know he has plead guilty to a serious crime. But he is a good
 person and I know he will use the years ahead to do more good in countless big and
 little ways.


 Sincerely,



 Pornchai Wessatada
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    Honorable Robert S. Ballou

    United States District Judge

    Western District of Virginia

    21 0 Franklin Road, SW, Suite 206

    Roanoke, Virginia 24011-2208

                                                                      02 February 2025

    Dear Judge Ballou,

    I am writing to provide a character reference for my old friend, Martin Elling, who will be
    sentenced for a criminal conviction in April 2025.

    I'm from the Chicago area and have lived in the UK for over 30 years with my husband
    who is German and now a retired university professor. We have two adult children. I am
    employed fulltime as a cabinetmaker in a small local business where I have worked for
    almost 20 years. For many years I was a managing trustee and/or congregational chair
    at my local Unitarian Meeting House.

    Martin and I have been friends since we met our first week as undergraduates at the
    University of Chicago in 1982. After our first year in the dorm we were flatmates in our
    2nd and 4th years, but not in our 3rd year when we each spent part of the year studying
    away or doing something else. During that time we had a load of fun, learned and grew
    as people; of course as for many this was a formative time in our lives. Martin had wide
    ranging academic and political interests and above all a genuine and vocal concern for
    the welfare of people and in particular their happiness and wellbeing; we broadly shared
    political and social priorities but loved to discuss and argue sometimes late into the
    night and next morning theoretical issues from classes and current events. Martin was
    always an agile and confident debater who made an impact on others, and I always
    thought-and still do-that with his values, abilities and people-centred outlook he
    would make an important and lasting positive contribution to the world .

    Martin is unusually generous to friends with his time, attention, and energy. I've truly
    encountered no one else like him.

    In our first year we were in the fencing club together, then our friendship group led by
    Martin and another guy decided to create a student federal credit union to provide badly
    needed services, as we'd all had enough of the overpriced and inconvenient offer from
    the sole area bank which was some distance away from campus. Martin was a real
    force planning, getting accreditation and bringing the credit union to life, including
    getting support from the College and securing premises, then helping to manage the
    day to day running of the credit union, with a grace and good humour that motivated and
    unified the volunteer student staff. The student credit union improved our experience on
    campus enormously, and also showed us how collaboration for mutual benefit can be a
    real force to create community and lift it. We could also see that our university


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    neighbourhood was an island inside a vast Southside ghetto whose people also lacked
    services and opportunities; this moved Martin. Through a student organisation I was
    tutoring a local single mother towards taking her GED exam; many times she had to
    phone the flat to reschedule that afternoon's meeting because of sudden childcare
    issues; Martin would take the call at our flat then astonish me by tracking me down on
    campus by phone-calling my BA paper professor during a tutorial, the reference
    librarian, or the stacks supervisor where I was shelving books-to get the message to
    me. He was very considerate, noticed details and knew they matter to people's lives,
    and was great at enlisting people in unexpected ways to help out for a positive result.

    I have followed with great pleasure Martin's devotion to world travel and interest in the
    local people he encounters. He used to circulate to friends regular emails filled with his
    many photos from his trips, and his delight in places, buildings, arts and events shone
    through. Always there were wonderful photos of local people doing interesting or
    prosaic things, and they were without exception smiling at Martin, really beaming. I
    worried that he might come to harm having to see everything everywhere, but he
    avoided harm in the main, and I reckon his ability to connect with people served him
    well there.

    I remember Martin travelling to Florida for the 2008 Presidential election with a group of
    trained legal professionals to observe polling places in order to protect the rights and
    practice of citizens there to vote despite deliberate barriers put in place. He spoke
    movingly of the spirit and resilience of the people he saw experiencing these difficulties,
    as much out of care for them as people as for the vital integrity of the election process.

    Martin enjoys being a dynamic fulcrum of a large number of wonderful friends across
    the world. He has a legendary annual Christmas party at his home in New York. I haven't
    been, but I hear from the others that it is wonderful and has retro, 'It's a Wonderful Life'
    energy. The first year of pandemic lockdown he organised a Zoom Christmas party
    which I attended, and it was absolutely delightful, full of fun games and activities, and
    that quintessential Martin vibe that brings everyone together feeling happy and cared
    for. He loves it when his friends meet and get on together, and understood its impact
    during the time of Covid.

    I hope I have given you an idea of Martin's character. In general he is an immensely
    positive force in the world, which would be better if there were more people like him.

    Please let me know if I can provide any additional information.

    Sincerely yours



    ~-1J~
    Lori Winters




                                                 2
